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                             Exhibit 152
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                               CSM Marilyn Gabbard




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                                                           HEADQUARTERS
                                                       MULTI-NATIONAL CORPS -IRAQ
                                                              BAGHDAD, IRAQ
                                                               APO AE 09342
                 REPLY TO
                 ATTENTION OF



    FICI-JA-AL                                                                                                             MAR 1 8 2007

    MEMORANDUM FOR RECORD

    SUBJECT; Approval of AR 15-6 Collateral Investigation of UH-60 incident on 20 JAN 07


    1. Recommendation 2c is modified for clarity as only a recommendation to be considered and
    studied rather than a directive; and with this modification, all other Findings and
    Recommendations are approved.

    2. Point of contact for this mre""m"'o"-ra"'n"'d0u0:.cm1 ' ...,,-...,,-...,,-----,-,__....'.:(b:'.'.)(3:,,l:..,:,(::bl'.'.::(6:_)_ _ _ _ _ _ _ _.J
    DS~ (b)(J). (b)( 6) ~ or at em                          (b)(3), (b)(B)
                                              '--;:::=======---------,
                                                                                       (b)(3), (b)(6)




t
                                                                          KA I NIOND I. ODIEKl\10
                                                                          Lieutenant General, USA
                                                                          Commanding
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                                 REPORl OF PROCEEDINGS BY INVESTIGATING OFFICER/BOARD OF OFFICERS
                                                              For UM ofthl& form, Me AR 15-6; the proponent aQtnc;y /1 OTJAG.
                                      IF MORE SPACE IS REQUIRED IN FIUJNG OUT ANY PORTION OF THIS FORM, ATTACH ADOIT/ONAL SHEETS
                                                                             SECTION I• APPOINTMENT .

         Appointed by       MNC-1 Commanding General: Lt. Gen. Raymond Odiemo
                                                                                             /Appolnllng authorily/



         on ___;:2;:l.;;J;:AN:;:.;:0.;.7_ _ _ (Allach fne/osure 1: Letter of spP?intmant or summBtyof oral appointment data.) (See para 3-15, AR 15-6.)
                            /bii/o)

                                                                                SECTION JI • SESSIONS

         The (lnvosl/ga/lon) ~ commene<>d at _B_L_DG                  .....' - , , = - - - - - - - - - - at _ _ __:lc.;4,;0;.0hr::;c•_ _ __
                                                  __#_4_0_22_B_a_la_d,:..Iraq
                                                                                              {f'lace}                                                               (iime)
         on              21 JAN 07               (If a formal board met tor more than on9 session, check here           O, Indicate in an inc/osuro the time each session began and
         ended, the pJacaft;f/!lsons preS6nt and abs.ant, and explanation of absences, if any.) The following persons (members, respondents, counsel) \N'8fe
         present (Aftar each name, lndlcata capooify, e.g., President, Recorder, Membor, Legal Advisor.)




         The following persons (members, respondents, counsel) were absent: (Include brf9fexplanation of each absence.) (Sea paras 5-2 end 5-Ba, AR 1f>.6.)




         The     (lnvestlgatlng officer~ finished gathering/hearing evidence al -----".16,;.0"'0;:;H,-rs_____ on _____3_F~E~B=0_7____
                                                                                                            / llffl6}                                               (bate)
         and completed findings and recommendations at _ _ _ _ _ _ _ _~-6~0~!-li.-'-'------- on ______3_~,,..,.,E,.,B~l•)r0_7_____

                                                                  SECTION Ill • CHECKUST FOR PROCEEDINGS

     1       lnclosur&~ jf)llfa 3-15, AR 1s::6}
         A~·-C~O~M_P_L_ET_E__::IN.:.A_L_L_Cc.Ac.S_Ec;S_ ___;:__c:.;__.::.:...;:.:=========..:....c..._;__ _ _ _ _ _ _ _ES
                                                                                                                        _NO
                                                                                                                          _ NA~
                                                                                                                            _
           Are the following Jncloaed and numbered consecutively with Roman numerals: (Attached In order listed)
           a. The letter of appointment or a aummary of oral appointment data?
           b. Copy of noUce to respondent, ff any? (Sae Item 9, below)
           c. Other correspondence \\'ith respondent or counsel, If any?
           d. AU other written communleatlon15 to or from the appolntlng authority?
           e. Privacy Act Statements(Ctlrtificata, if 8/atement provldod oroJ/y)?
              f. Explanation by the lnveatlgatlng officer or board of any unU&ual delays, difficu!Ues, lrregularitles, or other problems
                 encountered (e_.g., absence of material witf18asss)?
           g. Information as to sessions of a fonnal board not lnciuded on page 1 of this report?                                                                            I   J   I   I   IXI
            h. Any other algnlflcant papwa (other than evidence) relating to administrative aspects of the Investigation or board?                                           IVl     I   I   I   I
    1 r1.. •u  "u , r.:,:,,; 1l       negam,e a11JJ1>1,11Ys on an attac,....,,, ..,,.,. .
                          2J. U• ofth& NIA c-olutM consUtutH a poaltiVtl rr,prestmtatlon that the clrcumsJsnces dHcrlbed In the question did not occur in thla lnve#Jgetlon
                             orbo&rd,
-   DA FORM 1574, MAR 1983                                                 EDITION OF NOV 77 IS OBSOLETE.                                     Pago 1 of 4 pa(lfla                    APOPEv1.20




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    2   Exhibits (pata 3-16, AR15-8)                                                                                                                               YES NOa NA2
        a. Are all items offered (whether or not roo&ived) or considered as evidenoo Individually nunbered or lettered as
           exhlblls and attachad to this report?
                                                                                                                                                                     [81      D D
        b. Is an index of all exhibits offered to or conaldered by !nve.atlgating omoer or bOard attaehed before the first exhlbll?                                 IXI       I       I I
        c. Has me testiinony7siatemenfof each wltlless Qeen re<:eraoa verbaUm or ooen reduced to wmwn form ana a11.111,;11ea as
           an exhibit?
                                                                                                                                                                     [81 D D
        d. Are copies, descnptlona, or depictions (If substftuted for real or documentary evldenc&) property aulhentlcatad and Is                                    [81 D D
           the k>calion of lhe original evidence indicated?
        a. Are descnptions or diagrams included of locations visited by the investigating officor or board (P8fa 3-6b, AR 15-a)?                                     /YI      I       I       I
        f. l_s each written slipulaUon attached as en exhibit and Is each oral stlpu!atlon either reduced to YmUng and made an
           exhibit or recorded In a verbatim record?
                                                                                                                                                                     [81      D D
        g. If offici~I notice of any matter was taken over the objection of a respondent or counsel, Is a stalement of the matter
           of which official notice was talc.en attached as an exhibit (pata 3-16d, AR 15-6)?
                                                                                                                                                                    D D [81
    3   Was a quorum present when the board voted Qn findings and recommendaUon, (paras 4--1 Bild 5-2b, AR 15-6)?




                                                                                                                                                                 •
    B. COMPLETE ONLY FOR FORMAL BOARD PROCEEDINGS (Chapter 5, AR 15-6)
    4   At the lnltlal aenlon, did the recorder read, or determine that 111 participants had read, the latter of appointment (par8 5-3b, AR 15-6)?
    5   Was a quorum present at every seaalon of the board (pars 5-2b, AR 15-6)?
                                                                                                                                                                                          y
    6   Was each absence of any member properly excused {/>&rs 5-28, AR 15-6)7
    7   Were members, wltnea5eS, reporter, and Interpreter swom, If required (para 3-1, AR 15-6)?
    8   If any members vmo voted on findings or recommendations were not present when the board received some evidence,                                              ~        L...-
        does the inctosure describe how they famlllarized themselves With that ev!dflnce (p81a 5-2d, AR 15-6)?
    C. COMPLETE ONLY IF RESPONDENT WAS DESIGNATED (SecUon II, Chapter 5, AR 15-6)
    8   Notice to respondents (pars 5-5, AR 15-6):
        a. Is the method and date of delivery to the respondent lndicat&d on each letter of notification?
        b. Was the date of dellvery at least five working daya prior to the first session of the board?
        c. Does e.ach letter of notification Indicate _
           (1)    th& date, hour, and ptac.e of the fl rat session of the board concerning that respondent?
           (2)    the matter to be Investigated, including specific allegations against the respondent, if any?
           (3)    the respondent's rights with regard to counsel?
           (4)    the name and address of each witness expected to be called by the recorder?
           (5)    the respondent's rights to be present, present evidence, and call witnesses?
        d. Wa.s the respondent provided a copy of all unclassified documents In the case file?
       e. If there were relevant clau.ified materials, were the respondent and his counsel given access and an opportunity 10 examine them?
    10 If any respondent was designated after the proceedings began (or olhsrwlse was absent during P8rl of the proceedings):
        a. Was he properly noUfied (para 5-5. AR 1~6)?
       b. Waa r&e0rd of proceeding• and evidence received in his absence made available for examination by him and his counsel {J>lrt ~ AA f~J?I
    11 Counsel (para 5-6, AR 15-6):
        •• Was each respondent repreunted by counsel?
            Name and business address of coun1el:


            (If counsel ls a lawyer, c/}(µ;k hare 1 1 J
        b. Was respondent's counsel present at aU open sessions of the board relating to that respondent?
        c. If military counsel was requested but no! made available, !s a copy (or, if orBI, a summary) of the request and the




                                                                                                                                                                 -
           action taken on It Included in the report (para 5-Sb, AR 15-6)?
    12 If the respondent challenged the legal advisor or any voting member for lack of impartiality (para 5-7, AR 15-6):
        a. Was the challenge properly denied and by the appropriate offioer?
       b. Did each member succeufuHy challenged cease to participate In the proceedings?




                                                                                                                                                                 -I
    13 Was the T8$pondent given an opportunity to (PBlB 5-88, AR 1~):
        a. Be presenl with his counsel al all open seuions of the board which deal Ylilh any matter which co.ncern.s that respondent?
        b. Examine and ob}ect to the introduction of real and documentary evidence, Including written titalementa?
        c. Object to the testimony of wltneues and crou--examlne witnea.ses other than his own?
        d. Call witnesse, and otherwise Introduce evkftnee?
        e. TesUfy as a witness?
        f. Malta or have hia counsel make a final statement or argument (para 5-9, AR 15-6)?
    14 If requested, did the recorder assist the respondent In obtaining evidence In possession of the Govemment and ln
       arranging for the presence of witnesses (para 5-8b, AR 15-8)?                                                                                                 D D i:81
    15 Are all of the respondent's request.sand ob}eetions which were denied indicated In the report of proceedings or In an
                                                                                                                                                                     D D [81


-
       inclosure or exhibit to It (para 5-11, AR 15-6)7
    FOOTNOTES: lL 1:xIJ1ain 811 oogerrve anSW9fa on an 8ltsched sheet.
                     'J,L Uae of the NIA column.constitutH a positive represent•tJon that ths clreumstsncea described In the qllflstion dfd not occur In this lnvest{gstlon
                         orbooro.
    Pago 2 Of 4 pages, DA Form 1674, Mar 1983                                                                                                                                 APO PEv1.20




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                                            SECTION IV. FINDINGS (para 3-10, AR 15-6)
The (investigating officer)~ , having carefully considered the evidence, finds:


Pleuo &cc the a1t1ched for Finding•.




                                              SECTION V • RECOMMENDATIONS       (para 3-11, AR 15-6)
In view of the above findings, the(investigBting officer) (board) recommends:

Plc&1c no the aH1:1cbed for Recommendations




~age 3 or 4 pages, DA Form 1574, Mer 1983                                                                               AP0Pfv1.20




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                                             SECTION VI. AUTHENTICATION       psra 3-17, AR 15-B)
THIS REPORT OF PROCEEDINGS IS COMPLETE ANO ACCURATE. (If any voting member or the recorder falls to sign here or In SecUon VII
 -tow, indicate the reason In the space where his signature should appear.)




                                                                            (see r/4c~e:J "1tw1oro,11.Jv"" £r _5"11<-1ah!re-~
                                                                                        I                   (b)(3), (b)(6)             I
                               (Recorder)                                                         (JnvestlgeOng offl&ir) /PiesJdant)

                                                                                                        (b)(3), (b)(6)
                                (Member)                                                                     (Member)



                                ( em r)                                                                      (Member)



 o t e extent in lcate   n n osure _~~=• the un ers gn             o es not concur n    e n ngs an recommendat ons o t e oar .
(In Iha inclosure, identify by number each finding and/or racommendatlon In which the dissenting member/s) do(es) not concur. State the
reasons for disagreement. Addft/ona//subsUtute ffndlngs and/or recommendations may be Included In the inclosure.)                    •




                                (Momber)                                                                     (Member)


                                   SECTION Vlll • ACTION BY APPOINTING AUTHORITY (para 2-3, AR 15-6)
  e findings and recommendations of lhe (Investigating officer)~ are fapp<e>a1if.dklapp,o,od) (approved with fol/owing exceptions!
subslltutions). (If the appointing authority returns the proceedings to the Investigating o ,cer or board for further proceedings or
corrective action, attach that correspondence (or a summary, if oral) as a numbered inolosura.)




                                                                                         (b)(6)




                                                                                     RAYMOND T. ODIERNO
                                                                                     Lieutenant General, US Army
                                                                                     Comn1a_11:~i11g
Page 4 of 4 pages, DA Form 1574, Mar 1983                                                                                                  APOPEv1.20

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•                                       SECRET


                              15-6 Investigation
                               21 January 2007




•
                                           (b)(3), (b)(6)



                         Lead Investigating Officer

                                           (b)(3), (b)(6)




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                                     DEPARTMENT OF THE ARMY
                              B Company, 615™ Aviation Support Battalion
                                Air Cavalry Brigade, 1•t Cavalry Division
                                            APOAE 09378
              ADLYTO
              ATTINTION OF:

      AFVA-1ACB-615-B                                                                02 February 2007


      MEMORANDUM THRU Commander, 36th Combat Aviation Brigade, APO AE 09391

      FOR Chief of Staff, Multi-National Corps-Iraq, Bagdad, Iraq APO AE 09342

      SUBJECT: AR 15-6 Collateral Investigation of UH-60 incident on 20JAN07


       1. (S) Findings. At approximately 201440(L)JAN07, UH-60 (Serial number 84-23984, call sign
     . Easy 40) crashed in the vicinity of 38S MC 66795 00025 (Iraq) resulting in 12 fatallties and the
       destruction of the aircraft and equipment on board. The majority of individual and government
       property on the aircraft could not be recovered due to the extenfof damage caused by fire.
       Between the dates of 21January 07 and 01 February 07 the undersigned conducted an
       investigation into the circumstances and contributing factors to this incident.




•
        a. ES) The findings of this investigation show that at approximately 201440(L)JAN07, UH-60
      call sign E:.asy 40 was engaged, and struck by hostile enemy fire In the vicinity of 385 MC 68170
      00450. Thia enemy action resulted In damage to the aircraft. an In flight fire and subsequent
      crash that killed aJl twelve US Anny peraonnel aboard and completely de$troyed the aircraft.

        b. (S) The enemy forces who engaged and downed the UH-60 (Easy 40) demonstrated they
     were not seeking a prolonged engagement by their actions following the attack. Although there
     are indications of multiple enemy positions during the initial engagement, the enemy forces
     attempted to break contact after the engagement of UH-60 (Easy 40) in a white pickup and were
     engaged by the lead UH-60 in the flight, Easy 71 . Easy 71 immediately engaged the enemy
     forces and maintained contact until a second flight of two UH-60s arrived within minutes and
     also engaged the enemy. The engagements by the UH-60s fixed the enemy forces until AH-64
     attack helicopters arrived, within 15 minutes of the initial radio call by Easy 40, and destroyed
     the two enemy positions.

        c. (-G) Thil Investigation concludN pilot error, risk UHSSment, crew selection, fighter
     management, equipment failure, weather, OPSEC, and flight planning were not ca~tive
     factors in the shoot down. Addltlonally, after the downing of Easy 40, US Forcea imm~tely
     gained and maintained tactical control of the crash site and the recovery assets were timely and
     adequate.

        d. (G) This investigation concludes that routine flight routes and canalization, which occurred
     in the area of the engagement, may have contributed to the enemy's ability to ~ f a t l y
     engage aircraft 84-23984. The area of the engagement (38S MC 66795 00025) is regularly
     over flown by coalition aircraft transitioning Into and out of Baghdad during clay and night hours.



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•     AFVA-1ACB-615-B
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      SUBJECT: AR 15-6 Collateral Investigation of UH-60 incident on 20JAN07

     2. (G) Reoommlnclatlon. Flight in and around a built-up area significantly increases the risk
     to flight crews. Mitigation to reduce the possibility of a future shoot down is possible. The
     following recommendations are Intended to assist commanders in risk mitigation and prevent
     future shoot downs.

        a. (G) Maintain vigilance regarding tactical flight spread.

          (1) (S) Maintaining visual contact between CE/Door Gunners from both aircraft and flying
     within 900 meters (7.62mm Tracer Bum Out) with mutually covering fires will not mitigate all risk
     of shoot down, but it will make the aircrews in tandem "harder" targets and less likely to be
     engaged.

           (2) (S) Th• preponderance of ahoot downs In the Iraqi theater, lends credibility to the
     concluak>n Nt theN engagements are pre-planned, complex and Intend to attack the trail
     aircraft when the lead aircraft dou not have e ea on and can not provide covering/auppl'Nllve
     fire to support the trail aircraft, according t (b)(JJ, (b)(BJ of the Army Shoot Down
     Assessment Team (ASDAT).         •

        b. (S) Night flight utilizing Night Vision Goggles/Systems to mitigate the risk to aircrews



•    should be favored. There is no current indication enemy forces possess any significant night
     vision capability. This limitation on enemy capability should be exploited to the fullest.

        c. (S) Incorporate a single Apache/Cobra escort to mitigate risk by making the flights "hard"
     targets, when day flight is required. This course of action would significantly increase the blade
     hour requirements for Apache units in theater and may not be supportable with current aircraft
     assets and the logistic supply chain of parts available; however, would provide increased
     protection to the crews and passengers involved in day flight.

       d. (G) MNC-I aviation brigades must continually assess the risk, of aircrews flying along
     roads heavily traveled by US and Allied Forces and determine if this practice is truly risk
     mitigation or simply canalization of flight corridors.

         (1 ). (S) canalization of flight crawa In and around Baghdad, by the preponderance of
     persistent Restricted Optrationl Zones (ROZ) and specified No Fly Areae (NFA) ~ airspace
     and ground maneuver area to the enemy. If this is a tactic desJgned to mus the enemy, It may
     have tactical value, but It immediately canalizes, and Is therefore disadvantageous to aircraft.
     However, if there 18 no tactical algnlflcance to pel'8iltent ROZ/NFA's then, we must as a force
     ceue utilizing them.

       e. (U) Consideration must be given to tactical cross loading of equipment and leaders during
     crew selection and before departure. The 36 CAB should consider whether the unit's First
     Sergeants would be better utilized in other than flight duties.




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     SUBJECT: AR 15-6 Collateral Investigation of UH-60 incident on 20JAN07

       f. (S) Continue to maintain standards IAW Appendix 1 to Annex P to MNC-I SOP dated
     4NOV06 (U) Aviator's Procedures Guide, paragraph 39.A (1) "Minimum Altitude Day is
     150'AGL. ..deviations are authorized to avoid enemy fire and the Pilot In Command (PIC) has
     the authority to deviate if threat dictates."

         • (1) (S) The                 (bl(3l, (bl(6l            made the decision to descend below
     150 feet above groun level A L , as authorized by the MNC-I Aviators Procedures Guide, to
     130 feet AGL to reduce the flights exposure to the current ground situation that involved U.S.
     tanks and ground cohvoy vehicles and a large plume of black smoke rising from the area they
     were flying over. This descent is a common tactic taught to rotary wing pilots to reduce the
     amount of time enemy forces have to acquire the aircraft and reduces the amount of time the
     aircraft is exposed to enemy weapon systems.

        g. (U) Command emphasis should continually be placed on Pilot emergency procedure
     training both in the aircraft while in theater and simulator training at home station.

     3. (G) Witness Accounts: All individuals found who witnessed this incident or had direct
     involvement were interviewed and/or provided sworn written statements as to their account of
     the event. For further details regarding the statements refer the Sworn Statement sheets (DA



•    Form 2823) of each witness.

     4. (S) Facts and circumstances: Aircraft 984, call sign Easy 40 and aircraft 463 call sign
     Easy 71 departed for their assigned mission (#0120B), from Salad, pad 21 at approximately
     1340(L). CPT Taylor, the Pilot-in-Command, was in the left seat of Easy 40 with CPT Lyerly in
     the right seat. 1S1 Warren was io the left Crew Chiefs seat and SSG Brown was in the right
     Crew Chiefs seat.                  I
                           (bl(3), (bl(6l in aircraft 463, call sign Easy 71 was the Air Mission
     Commander (AMC).

        a. (S) The flight was normal until the flight of two Easy aircraft encountered a U.S. ground
     convoy of multiple tanks, Bradley Fighting Vehicles and two AH-64 Apache aircraft above, in the
     vicinity of 38S MC 673158 The convoy appeared to be engaged with the enemy and had a
     large plume of black smoke rising that the crews believed was from an IED. The AMC made the
     decision to tum away from the ground convoy and descend below 150 feet above ground level
     (AGL). The fllght of two maintained 130 feet and increased airspeed to 125 knots thru the next
     check point and then turned south flying approximately 2-4 kilometers to the East of MSR
     Detroit. When the flight was in the vicinity of 38S MC 68170 00450 the trail aircraft, Easy 40
     was engaged by accurate enemy fire.

    ~ During interviews, two of the crew m.embers from Easy 71 (bl(3), (bl(6} an~ 6 l
    ( ~stated that Easy 40 was at their 8 o'clock position and 10-15 ro or Is s in separation.
    This position would not have allowed the two aircraft to maintain mutually supporting fires. This
    separation, if accurate, may have contributed to the decision of the enemy to engage Easy 40.




•
       c. (U) Once engaged witnesses reported Easy 40 had smoke trailing from the left engine
     area and flames visible around the rotor hub and upper deck area. EASY 40 was then
     observed initially turning to an easterly direction then back to the west.

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•    AFVA-1ACB-615-B
                                                              S6CRET


     SUBJECT: AR 15-6 Collateral Investigation of UH-60 incident on 20JAN07

        d. (S) According to the witnesses, trained aircrew members, the aircraft then descended In a
     manner which lead them to believe the pilots had control. The aircraft was described as
     descending, in trim and in a profile which appeared to be consistent with an autorotation. The
     witnesses also heard over the radio CPT Taylor, an experienced Instructor Pilot, stating they
     had been "hit", making a "MAVOAY" call,.........._........,,........,........,PT L erl a Readiness Level-1 pilot, to
     get the aircraft down and under control.       (b)(3), (b)(G)                 and (b )(3), (b)(G) reported the aircraft
     appeared to be near the ground and in control, as dust from e groun was blown Into the air
     by the rotor wash. The aircraft then unexpectedly ascended nose high to approximately 100ft,
     rolled left, then pitched down and crashed into the ground, in a left bank and nose low attitude.
     Additional 36 CAB aircraft (MSN #0120A, flight of two UH-60s) responded and the Apache
     aircraft from 1 CAB were immediately in route to the site.

        e. (G)I (b)(3), (b)(G) I from Easy 71 directed his fire to a tree line he saw fla'l-'-Ll-.......,LI.ll,Oillo...l,<Mll.\ing
     from in order to clear the landing zone. Easy 71 landed andl (b)(3), (b)(G) and              I (b)(3), (b)(G)
     retrieved fire extinguishers from their aircraft and ran to the burning Easy 40 a1rcra .                        ey were
     unable to retrieve anyone from the wreckage. The passengers on Easy 71, under the direction
     of! (b)(3), (b)(G) jset up a defensive perimeter as the Crew Chiefs unsuccessfully attempted to
     extricate the crew and passengers of Easy 40. No ground to ground engagements were
     reported.



•       f. (S) As of the date of this report, the wreckage of Easy 40 is in a hanger on LSA Anaconda
     and in the possession of the ASDAT. At the time of this report the ASDAT members have not
     determined what specttic type of weapon engaged Easy 40, but have confirmed enemy fire as
     the causative action. The aircraft, subsystems and personal crew effects sustained massive
     crash and fire damage. For the disposition of specttic items refer to the ASDAT report.

     5. (U) Issues and Analysis.

         a. (S) The routine flight routes by the flight crew are not signtticantly different than other
     flight crews in 36 CAB or within theater. The FOBs require transition to terminal airspace, a
     point of entry Into and out of the FOB airspace. The routes to and from the FOBs after multiple
     years In theater have become linear and direct to reduce blade hours flown, time of flight,
     number of aircraft required to support the daily missions and exposure to enemy obseivation.

          (1) (S) Although aviators are taught to avoid flying along roads during tactics training, in
     some cases roads, for example MSR Detroit and Route Irish (in Baghdad), with heavy Coalition
     Force presence are preferable over flights away from secured areas. This is counter intuitive to
     tactical flight training, but credible when consideration is given to the deterrence U.S. ground
     forces provide and the decreased response time these forces can provide to a downed aircrew.

          (2) {S) Linear flight and direct routing must also be evaluated. A direct route may be
     preferable over routes which cause aircraft to spend more time over hostile territory on an
     asymmebic battlefield. Additionally, pilots seek to reduce the time of flight, to reduce exposure



•
     to the enemy and increase efficiency, directly correlating to the number of aircraft required to
     accomplish the days directed mission. The current fight patterns in and around the small flight
     area near Bagdad do not allow varied flight routes to completely mitigate the risk of enemy fire

                                                               4
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 AFV A-1 ACB-615-B
 SUBJECT: AR 15-6 Collateral Investigation of UH-60 incident on 20JAN07

 from a dalJberate ambush. Flight roulM to and from the FOB'a in the high UM airspaoe eubject
 the aircrews and passengers to I n ~ riek particularly when flown during daylight hours. •
   b. (U) Pilot Error is not substantiated as having a role in the sequence of events.

     (1) (G) The PC was the Company Commander and a seasoned Instructor Pilot (IP) with
 greater than 1000 hours in the UH60A. The Pilot was a junior Readiness Level-1 Pilot, with less
 than 150 hours in the UH60A.

      (2) {G) Currently, no direct evidence indicates the pilots failed to properly perform aircraft
 emergency procedures due to the unknown nature of the battle damage, but according to
 witness accounts the possibility of an incorrect autorotation is present, as well as the possibility
 of material failure due to fire, enemy fire and/or pilot incapacitation .. Witnesses describe Easy
 40 as being established in a landing profile and approaching a touch down point. Then
 unexpectedly, pitching nose-high, climbing, rolling to the left and then crashing. At this point of
 the investigation, the reason for the aircraft climbing after making a controlled descent can not
 be determined.

     c. (U) Risk assessment procedures and documentation was conducted properly for the
 flight.

      (1) (G) Crew Selection does not appear to have played a role in the sequence of events.
 The limited flight experience of the Pilot and one of the Crew Chiefs was mitigated by placing
 the experienced Pilot-in-Command and experienced Crew Chief on opposite sides of the
 aircraft.

    (2) (U) Fighter Management was assessed on Iha risk assessment as low and does not
 appear to have been a factor.

     (3) (U) Tactical Cross Load of crew members IS NOT addressed in the 36th CAB or 1-131"'
 Aviation Regiment TACSOP.

   d. (U) There is no indication of any equipment failure contributing to this incident.

     (1) (S) No flares were discharged by Easy 40 during the engagement. It ls unknown If the
 Common Missile Warning Sytlllm (CMWS) was on and functioning but the witness aocounts
 and the nature of the damage to Eny 40 does not indicate it was struck by a heat seeklng
 missile.

      (2) (U) The 365-4 Weight and Balance Clearance Form and Maintenance Records for
 aircraft 84-23984 were examined during the investigation and found to be in order.

   e. (U) Weather and performanoe conditions do not appear to have been a factor in the shoot
 down.



                                                  5
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•    AFVA-1ACB-615-B
                                                 SECRET


     SUBJECT: AR 15-6 Collateral Investigation of UH-60 incident on 20JAN07

         (1) ES} There were no adverse weather conditions at the time of the attack; visibility was
     unrestricted and winds were negligible. Additionally, the sun's position at the time of the
     engagement, approximately 1440(L), was well above the horizon, providing no measurable
     benefit to the attacker.

          (2) (S) According to the reconstructed Performance Planning Card, the aircraft did have
     out of ground effect hover capability and single engine capability above 43 knots airspeed.

       f. (S) Operational Security (OPS EC) violation is not substantiated by evidence.

       g. (U) Flight planning was appropriate and does not appear to have been a factor.

       h. (U) Recovery assets provided were adequate and timely.

          (1) (U) Easy 40 was reported down at 1448(L) and the first aircraft on scene was the wing
     man Easy 71. Easy 71 's crew attempted extrication but were unable to accomplish this task
     due to the significant destruction of Easy 40 and the fire that engulfed the wreckage. 25th ID
     was reported on site at 1455(L) and the first AH-64 aircraft from 1 CAB reported on site at
     1501 (L), according to the 36 CAB TOC Duty Officer's Log, DA Form 1594. Time was not a



•    constraint on the recovery assets as the destruction of the aircraft was catastrophic at the time
     of impact as determined by post crash analysis of the wreckage.




                                                        (b)(3), (b)(6)




                                                         (b)(3), (b)(6)




•                                                   6
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-       201845JAN07

        201905JAN07
                                      15-6 Investigation Timeline

                            Received verbal WARNO from 2-135th
                            regardin assi ment as 15-6 Investi ation O 1cer
                            Met with                    (b)(3), (b)(6)
                                                                                           (b)(3), (b)(6)


                                                                                       garding initial scope of
                           investiga_,o"'n'------~
        202020JAN07         Contacte~            (b)(6)       janq         (b)(6) I      (passengers on EASY
                            56) at Catfish Air termmal· obtained completed DA 2823
        202120JAN07         Interviewed) (b)(3), (b)(6) j(passenger on EASY 71) at
                            Distinguished Visitors Quarters (DVQ); obtained completed DA
                           2823
        202140JAN07        IntervieweJ (b)(6) ~ (passenger on EASY 71) at DVQ, LSA
                            Anaconda; obtained completed DA 2823
        202155JAN07        Interviewed)               (b)(6)    l      (passenger on EASY 71) at DVQ
                           obtained co\Doleted DA 282?
        202205JAN07        InterviewedL (b)(3), (b)(6) ](passenger on EASY 71) at DVQ
                           obtained completed DA 2823
        202225JAN07        Interviewe;J (b)(6) !(passenger on EASY 71) at DVQ obtained
                           completed DA 2823
        202240JAN07        Interviewed) (b)(6) !<Passenger on EASY 71) at DVQ obtained
                           completed DA 2823
        202250JAN07        Interview~ (b)(6) kpassenger on EASY 71) at DVQ obtained


-       202300JAN07

        202235JAN07

        202325JAN07
                           completed DA 2823
                           Interviewedj (b)(6) I (passenger on EASY 71) at DVQ obtained
                           completed DA 2823
                           Interviewed~passenger on EASY 71) at DVQ obtained
                           completed DA~
                           Interviewed~passenger on EASY 71) at DVQ obtained
                           complete.rd_.,uriffi"-'-'""""'------~
        211350JAN07        Met withJ               (b)(3), (b)(6)          I 131 st) infonned him of
                           investigau;,,·o"'n_ _~
        211400JAN07        Met with! (b)(3), (b)(6) ~dj (b)(3), (b)(5) l(13l st TOC personnel)
                           made uest for records information ~ - - - - - ~
        211410JAN07        Metwi               (b)(3),(b)(6)        131 st )an            (b)(3),(b)(6)    131 st)
                           infonned them of investi ation d ma e reques or ocuments
        211430JAN07        Met with                        (b)(3), (b)(6)                131 st) informed him of
                           investigii/;fiin====~----~
        211440JAN07        Met wi            (b)(3), (b)(6)       obtained mission map and copies of
                           AMR an commurucation card; no formal interview pending
                           consultation with ASDAT teari
        211500JAN07        Met witl\            (b)(3), (b)(6)   1131        st) infonned him of investigation
        211520JAN07        Received draft appointment memo froirl (b)(3), (b)(6) Iguidance at
                           this time µ.ruaeau,UQ,who will lead 15-6 Investigation
        211730J AN07       Met with (b)(3), (b)(6) and obtained further guidance regarding



-
                           scope of investigation




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    211815JAN07        Met with!       (b)(3), (b)(6)      l
                                                       36th CAB) obtained initial storyboard
                       of inciden,,_t- - - - ~
    211845JAN07        Met with J (b)(3), (b)(6)       l
                                                      36th CAB) informed her of
                       investigation
    22-23JAN07         No investigative action due to 131" casualty processing, memorial
                       services and no contact with ASDAT team for coordination

    2410301AN07        Met with!                          (b)(3), (b)(6)       I        received additional
                        investigation euidance
    241100JAN07        Met wiihl                         I
                                             (b)(3), (b)(6)         131 st) and obtained copies of
                        Commanders Inquiry report and Interviews.
    251400JAN07         Viewed the aircraft wreckage at LAS 3, LSA Anaconda
    251445JAN07        Met withj                         (b)(3), (b)(6)             !); was requested not to
                       interview witnesses prior to ASDAT team.
    251515JAN07        Informed!                           (b)(3), (b)(6)              pregarding time delay
                        and ASDAT team request; requested later suspense (03-15-07) for
                     ,-L:l=fi..Irei'tlSltJJ'mt.J'qn findings due ongoing investigations
    272000JAN07           (b)(3), (b) 6
    281000JAN07       Introduced         '
                                      (b)(3), (b)(6)    t (b)(3), (b)(6) and (b)(3), (b)(6)
    281400JAN07       Spoke with (b)(3), (b)(6) an (b)(3), (b) 6) from Army S oot
                      Down Assessment Team ASDAT)
    281600JAN07       Introduced       (b)(3), (b)(6)   to 1-1311 (b)(3), (b)(6)
    291000JAN07       Attende~ 36 CAB TQC A Ap.
    301200JAN07       Met wi~         (b)(3), (b)(6)     j(l3l st kb)(3), (b)(6) who briefed EASY
                      flight) reviewed S2 briefing rocedures
    301600JAN07       Met witlj (b)(3), (b)(6) !{!31 st (b)(3), (b)(6) obtained flight records
                      forEASY crew
    301615JAN07       Met wi          (b)(3), (b)(6)      (131 st BN SIP) reviewed tactical
                      procedures of BN
    301720JAN07                                        I
                      Conducted interview with (b)(3), (b)(6) lin 131 st BN AO; obtained
                      Privacy Act Statement
    301830JAN07       Conducted interview withj                (b)(3), (b)(6)         ~ C Co. 131 st AO;
                      obtained Privacy Act State.=m=e=n~t- - - ~
    301840JAN07       Conducted interview with!            (b)(3), (b)(6)      Jin C Co. 131'' AO;
                      obtained Privacy Act Statement
    311300JAN07       Obtained l31 st BNTACSOPfrom\                     (b)(3),(b)(6)    J!31' t)
    0111 OOFEB07      Ob •                  ·ssion Brief and Approval policy memorandums
                      fro (b)(3), (b)(6) and unit FLlPNET
    0l 1300FEB07      Recreated Performance Planning Card with 2-135 GSAB SIP




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      ",.110,.,..,
                                                                                    Attachment 1
 ;'~.. ~ .i                                    HEADQUARTERS
 s:   .>":r~~. ~                             MULTI-NATIONAL CORPS-IRAQ
                                                   BAGHDAD. IRAQ
                                                    APO AE 09342
           '
        •~~o
                     ,,,·,, ' ! .
                     • ... :r:'_:<:, n·

         FICI-JA-AL                                                                      26 January 2007


         MEMORANDUM THRU

        Commander. 1st Cavalry Division
        Commander, Air Cavalry Brigade, 1st Calvary Division
        Commander. 615"' Aviation Support Battalion. Air Cavalry Brigade. 1st Calvary Division

         f'OR    I    (b)(3), (b)(6)       l615'h Aviation Support Battalion. Air Cavalry Brigade.
         1st Calvary Division

        SUBJECT: Appointment of Collateral Investigating Officer


        1. (U) Appointed Duty. You are appointed as the lead investigating officer to co.~duct
        ar investigation following AR 15-6 procedures into all of the facts and circumstances
       ,sillilll.llill.!ill!;Ll;!~c.J.l;lllU.ai;Y 2007 UH-60 crash from the 36th Combat Aviation Brigade.
                      (b)(3), (b)(6)            vith the 36th CAB is assigned to assist and participate as a
        rnem er o the investigating team. Your duty is to determine all facts and
        circumstances and to "ascertain and consider the evidence on all sides of each issue,
        thoroughly and impartially, and to make findings and recommendations that are
        warranted by the facts and that comply with these instructions.' AR 15-6, para. 1-6.

        2. (U) Standards. Determine and reference ail relevant standards, policies.
        procedures. and customs and practices. In preparing your report. be sure to identify
        and segregate any classified information. Also. be sensitive to any Privacy Act issues
        that may arise during the course of your investigation.

        3. (u) Specific Areas of Concern. Before you begin your investigation, and
        periodically during your investigation. consult with the appropriate commander and other
        experts to ic;entify and develop the specific areas of investigation. In addition to
        addressing the general facts and circumstances and any matter you and your command
        think relevant, your investigation must address the following issues:

               a. (U) Was mission planning (flight plan, routine, operational security. etc.) or pilot or
               crew error a factor in the incident?

               b. (U) What other factors (i.e., equipment failure. weather), if any. contributed to the
               iricident?

               c. iU) Were recovery assets provided adequate and timely?




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     SUBJECT: Appointment of Collateral Investigating Officer



         d. (U) What individual. unit. and systemic measures. if any, could have prevented
         this incident?

     4. {U) Primary Responsibility. Your duties as an investigating officer take priority
     over other duties.

     5. (U) Suspense. Submit the original report and one copy of the original to the 36th
     CAB Commander and SJA no later than 14 days after your receipt of this memorandum.
     Any ·equests for extension must be in writing through the MNC-I SJA to the MNC-I
     Commander. You investigation must arrive at MNC-I Headquarters for review and
     approval within 10 days of submission to the 36th CAB Commander.

     6. (U) Procedures.

        a. (U) Safety and Other Investigations. Coordinate but do not interfere with other
     required investigations, such as a hostile action or safety investigation.

        b. (Ui Associated Requirements. Insure that all other inquiries, investigations, and
     procedures are pursued by proper authorities (e.g .. Summary Court Officer, Line of Duty
     determinations, casualty and memorial affairs, next of kin notifications. personal effe'cts
     safekeeping, etc.).

         c. (U) Investigation Process. Follow the informal investigative procedures of
     AR 15-6. Whenever possible, witness statements will be sworn and recorded on DA
     Form 2823. All persons will complete a Privacy Act statement. If you conduct any
     witness interviews teiephonically, prepare a memorandum of record memorializing the
     interview. Use DA Form 1574 to prepare your report. Include with your report all
     documentary evidence, photographs, diagrams, sworn statements, and all other
     information or evidence you considered as a basis for your findings and
     recommendations.

        d. (U) Security Classifications and Public Release of Your Report. Insure ail
     portions of your report bear proper classification markings. Prepare an additional
     redacted copy of your report for public distribution. Seek guidance and assistance from
     the 36th CAB SJA on this requirement.

     7. (U I Subject Matter Experts. Consult and associate any subject matter experts
     during the course of your investigation.

     8. ( U) Administrative Support. With local command approval, assistants may be
     assigned to assist you: e.g· .. to gather documents, to participate with you during

                                                 2




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     FICI-JA-AL
     SUBJECT: Appoiniment of Collateral Investigating Officer


     interviews, to help organize and prepare the report, etc. You should conduct all
     interviews of witnesses with personal knowledge of the incident ("fact witnesses·'). You
     must personally author the final report.!          Jwith the 36th CAB has already
     started the process to gather and preserve evidence.

     9. (U) Chronology of Investigation. Maintain a detailed chronology of your
     :nvestigative activities and include it as an exhibit to your report.

     10. (Ui Possible Criminal Conduct. If at any time during your investigation you
     suspect the person you are interviewing or you intend to interview of any misconduct.
     which may violate any provision of the Uniform Code df Militar; Justice (UCMJ) or any
     other criminal law or policy, you must advise them of their rights under Article 31.
     UCMJ. before continuing with further questioning. Document rights warnings and
     waivers on DA Fonm 3881.

     11. /U) Legal Advice. Before proceeding with the investigation and as necessa
     during the course of the investi ation, coordinate with your SJA                (b)(3), (b)(6)
     DSN)       (b)(6)    l       (b)(3), (b)(6) iDbaiad.ira .centcom.smil.mil. At MNC-1. your legal
     advisor res onsible or rev1 wing the final re ort on behalf of the MNC-1 SJA and
     GCMCA is          (b)(3). (b)(6)       DSN            I
                                                       (b)( 6)             ~iraq.centcom.smi!.mil.

     FOR THE COMMANDER:

                                                            (b)(6)



                                                      JbSEPH ANDERSON
                                                      Brigadier General, USA
                                                      Chief of Staff




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                                                   Exhibit List

   Description                                                                                            Letter

   Sworn Statement and Privacy Act Statement fo~                  (b)(3), (b)(6)      )(Easy 711)~(6)     A

   Sworn Statement and Privacy Act Statement fo~ (b)(3), (b)(6) !(Easy '7J~6)                             B

   Sworn Statement and Privacy Act Statement fotj (b)(3), (b)(6) j(Easy 711                   (b)(6)    f C
                                                (b)(3), (b)(6) !(Easy 71 b)(3), (b)( ) D
   Sworn Statement and Privacy Act Statement foq~-----'

   Sworn Statement (Non disclosure agreement) foq                  (b)(3), (b)(6)      !<Easy 71 PAX)     E

   Sworn Statement (Non disclosure agreement) for           I (b)(3), (b)(6) ~Easy 71 PAX)                F

   Sworn Statement (Non disclosure agreement) for!                (b)(3), (b)(6) !(Easy 71 PAX)           G

   Sworn Statement (Non disclosure agreement) for! (b)(3), (b)(6) j (Easy 71 PAX)                         H

   Sworn Statement (Non disclosure agreement) forl                 (b)(3), (b)(6)      !<Easy 71 PAX)     I

   Sworn Statement (Non disclosure agreement) forj                 (b)(3), (b)(6)      !(Easy 71 PAX)     J

   Sworn Statement (Non disclosure agreement) fo~                            (b)(6)           1(71 PAX) K

   Sworn Statement (Non disclosure agreement) fon~---'~b)~(6~)--~~(71 PAX) L

   Sworn Statement (Non disclosure agreement) for           I               (b)(6)          I(71   PAX)   M

   Sworn Statement foq (b)(3), (b)(6) \(Easy ~6~(6)                                                       N

   Sworn Statement for I (b)(3), (b)(6) I(Easy ~M)(6)                                                     0

   Sworn Statement for I(b)(3), (b)(6)I (Easy ~M)(6)                                                      p

   Sworn Statement for!      (b)(3), (b)(6)    !(Easy S6)M)(6)                                            Q

   Sworn Statement foj       (b)(3), (b)(6l    I(Easy ~6)~)(6)                                            R

   Sworn Statement fotj       (b)(3), (b)(6)   !(Easy ~ (6)                                               s

   Sworn Statement fo~ (b)(3), (b)(6) lcEasy 6 ~ 6 )                                                      T

   Sworn Statement fo~ (b)(3), (b)(6) !(Easy 621 (b)(3), (b)(6)        I                                  u




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       Sworn Statement fo~     (b)(3), (b)(6)    !(Easy 6~ (b)(3), (b)(6)   I                       V

       Sworn Statement (Non disclosure agreement) foj~ ___(b_H_6l_ _~j(62 PAX)                      w
       Sworn Statement (Non disclosure agreement) fo!~ _ _(_bl_(6_)_ _ k62 PAX)                     X

       Sworn Statement for!     (b)(3), (b)(6)   1{1-131 st Toq      (b)(3), (b)(B)   p             y

       Sworn Statement for\     (b)(3), (b)(B)   \(1-13 l st TOC personnel)                         z
       CIONE Event Report (QRF convoy that got attacked)                                            AA

       CIONE Event Report (Fallen Angel)                                                            BB

       Battalion Notification Fonn                                                                  cc
       Battalion Notification Sequence List                                                         DD

       Worksheet for Telephonic Notification for Avn Accident/Incident (DA 7305-R)                  EE

       Immediate Airspace Alert                                                                     FF




-
       m!RC Chat from 1425 to 2030 on 20 Jan 07                                                     GG

        1-131 st TOC Daily Staff Journal or Duty Officers Logs (DA Fonn 1594)                       HH

       Brigade TOC Daily Staff Journal or Duty Officers Log (DA Form 1594)                          II

        1st ACB Fire Effects Coordination Cell, Camp Taji Daily Staff Journal (DA 1594) JJ

        1st CAB Events Log 1                                                                        KK

        1st CAB Events Log 2                                                                        LL

        131 st TOC Daily Aircraft Comma Checklist                                                   MM

        131 st TOC 2nd Shift Status                                                                 NN

        131 st TOC 2nd Shift Checklist                                                              00

        131 st TOC Personnel List                                                                   pp

        131 st TOC Notes                                                                            QQ

        Baghdad Safire 261542ZJAN07                                                                 RR


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     OIF Threat from ATO TG PUC 20B 16502 20 Jan 07                                 ss
     Khan Bani Sad, Manpads Safire 201148ZJAN07                                     TT

     1-131 AVN BN Safire Storyboard                                                 uu
     Fallen Angel/Engagement Zone 201502C JAN07                                     vv
     Fallen Angel/Engagement Zone 201523CJAN07                                      WW

     20 1458 Jan 07 Event Downed Aircraft                                           xx
     Flight Plan Map                                                                yy

     Aviation Mission Request (Easy 40)                                             zz
     1-13 l st Commo Card                                                           AAA

     UH-60 Performance Planning Card (DA Form 5703-R)                               BBB

     Risk Assessment and mission brief                                              CCC

     PIMP Tracking Sheet                                                            DDD

     Dragon Mission Checklist                                                       EEE

     332nd EOSS/0SW Mission Execution Forecast (LF 332 EOSS/0SW)                    FFF

     MNC-1 SIGACTS Event Detail                                                     GGG

                  (b)(3), (b)(6)
                                         I                                          HHH

                   (b)(3), (b)(6)
                                             I                                      III

I                  (b)(3), (b)(6)
                                                 I                                  JJJ

 I                 (b)(3), (b)(6)
                                             I                                      KKK

     Memorandum for Record - Origin of photographs taken at crash site              LLL

     CD of all photographs and video taken at crash site                           MMM

     41 sheets of photographs of the crash site                                     NNN

     After Action Review                                                            000




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                                                                       SWORN STATEMENT
                                                 For use of this fonn, see AR 190-45; the proponent agency is PMG.
                                                                                                                          Exhibit A
                                                                       PRJV1'CY ACT STATEMENT
    AUTHORITY:                      Tille 10 use Section 301; Title 5 use Section 2951; E.O. 9397 dated November 2L, wt~ """'•"".
    PRINCIPAL PURPOSE:              To provide commanders 811d law enforcement officials with means by which infonnation may be accurately identified.
    ROUTINE USES:                   Your social 68CUrity number is Used as an additional/alternate means of Identification to facilitate filing and retrieval.
    DISCLOSURE:                     Disclosure ofY.Otir social security number is voluntary.
    1. LtK,;A11vN                                                            2. DATE       (YYYYMMDD)         o. ""'"                  -<1.   FILE
    Balad AB, Iraq
    5. LAST NAME, FIRST NAME, MIDDLE NAME
                                                                            1          2007/01/21
                                                                                    TB. SSN
                                                                                                             l      1033
                                                                                                                                       7. GRADE/STATUS
             (b)(3), (b)(6)                  I                                                      r       (b)(6)        I                          ) (b)(6) J
    8. vm.:iANIZA 1,,..,.,~ ..,,., '"""'"'RESS
    C Company 1-13 I Avn Rgt, 36th CAB, Balad, Iraq 0939 l
    9.
            1,I             (b)(3), (b)(6)          I                              ,WANT TO MAKE THEFOLLOWING STATEMENT UNDER OATH:
    Asj           (b)(3), (b)(6)  bnd tb\/3\, lb"<l<fGs mission 01208 (EASY 71 and EASY 40) on the 20th_QfJanuaiy 2007 these are the event, that
    surround the downing 0l easy 40 {SN 8423984). The mission was a routine GS mission originating ou1 orBaltd AB, Iraq at 1340 houN on the 20th.
    The flight was unevenlfol until the third leg oflhe flight from Taji to Liberty. The flight had turned to a heading of approximately 180 degrees along
    ASR Detroit, we were flying at approximately 85% torque with an estimated airspeed of 125 knots at 130 feel AGL, after approximately 8 minutes
    after turning South, vcty grid, 38S MC 68170 00450 my left~               (b)(3), (b){6)       }alerted us that trail {Easy 40) had taken fire and rjlues,ed an
    immediate left bttak:. I broke ioft and we a:cquired trail as it turned East bound and wu destendiog. Before and durina the tum,lb){3) {bl ~Jilied.
    the~ he believed wu the POO of the fire. AJ we closed on Easy 40 I noted that siinificant fire and smoke were ocnuing from tho Iott a.I~ of the __
    airutft. The fin: also was exiting the main rotor head area. The aircraft continued to descend and appeared to be in some de&ree of control and as _!t
    approached what I belteve would ha't'e betn a sutvivable land.in& (dust coming off the ground indicated how close to the ground it was} the aircraft •
    boc4me airborne qain, cont'-··- .. "''-Lt for anothcr 10-·I S aeoondl before impacting. At no time did we observe any additional enemy fires but upon
    touchdown al the crash site,;b)(3), (b)(R~leared the tree line adjacent lo the field with fire from his door gun. The!          (b)(3) (b)(6)     I~~)(6)
       {b1f3\. 'b"6\ I both exited the aircraft to assist any possible survivors. While the[b\(3\, lb\f6h,'erc assessing the downed aircraft, myself and the
    ome~         {bH3l, (b){6)    !successuy made contact with other coalition aircraft on~ Ar (L'-2.00) and alerted them to "Fallen Angel" at the
    aforcmen~10ncu .... ~ 1ocauon. Within 3-4 minutes there were no less than 6 other aircraft _providing overhead security and support. We had the
    passengers on board our aircraft (EAS 71) exit and assume 360 security around the crash sile until fuel issues required we leave. At approximately
     J.S 15 we joined with the EASY 62 element and returned to Salad as a flight of three with all passengers where parking and shutdown occurred without
    incident.     xxxxxxxxx---Nothing Fol!ows--xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx




     '1   0. EXHIBIT                                                  !   11. !N
                                                                                       (b)(3), (b)(6)
                                                                                                        .fAKING STATEMENT
                                                                                                                                    IPAGE10F                      PAGES

     ADDITiONA!.. PAGES MUST CONTAIN THE HEADING ~srATEM£,,<,.,..=-.::::::_--·-:::::~..1c--,N AT" _,_,._·· DATED

                                                                                                '
     THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PEf?SON MAKING THE STA TE.MEN/ AND PAGE NUMBER
     MUST BE BE 1/\'DICATE::.                                                                             __,, _ _ _ _ _,
     DA FORM 2823, DEC 1 $98                                            DA FORfv'i 2823, JUL 72. JS OBSOLETE                                                     ~-•·r, PE vl .'.l
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-·----;::===========:-.lJ!llC!.A:aSIElEll.---------,
        ~---(_b_)(3_J_,(_bl_(B_l_ _ _...,1-- TAKEN AT
STATEMENT OF


9. STATEMENT       (Continued)




           /

                                                      AFFIDAVIT
     1.f                (b)(3) 1 (b)(6)   7               ,HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
 WHJC~ btGihi5 ON FAG!?- 1, AND END3 ON PAJe L . I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
 BY ME. THE STATEMENT IS TRUE. 1HAVE 1NITIALEDALL CORRECTIONS AND HAVE INlTIALED THE BOTTOM OF EACH PAGE
 CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD, WITHOUT
 THREAT OF PUN. ISHMENT, AND WITHOUT COERCION, UNLAWFUL INFLUI                                                         I

                                                             .                        (b)(3), (b)(6)                   ,-:- - -


 WITNESSES:                                                   Subscribed and sworn to before me, a person authorized by law to
                                                            administer oaths, this   ~ day of
               (b)(3), (b)(6)                                 at


                                                             7                       (b)(3), (b)(6)              I
                                                                           (SignBtvre of Person Admlnisten·ng Oat!?)

                                                                                       (b)(3), (b)(6)
                                                                         {Typed Name of Pers or: Admm1sfennf Ootn)
                                                                                                                       I
  0RGANIZAT!ON OR AboRESS                                                       (Aulhont}' to Admm1sterOatt:s)



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. - - - - - - - - - s w _ o _ R _ Ns-TA-T-EM-E-NT---Exhibit                                                                          B
                                       For use of thi, form, see AR 190-45; the proponent agency is 001

                                                             PRIVACY ACT STATEMENT
 MJTHORITY:
                           Title 10 ~SC Section 301; Trtle 5 use Section 2951; E.0. 9397 dated November 22, 1943 /SSN).
 PRINCIPAL PURPOSE:
                           To provi~e com~anders and law enforcement officials with means by ~ich information may be accurately
 ROUTINE USES:
                           Y?ur social security number is used as an additionaValternate means·Of identification to facilitate filing and
 DISCLOSURE:               Disclosure of our social securi    number is volunta .
 1. LOCATION                                                    2. DATE /YWYMMDD)             3. TIME
 LSA Anaconda, Balad Iraq                                                                                             4. FILE NUMBER
                                                                         2007/01/21                     1530
                               E. MIDDLE NAME                            6. SSN
         (b)(3), (b)(5)                                                                                               7. GRADE/S1j;\/S
                                                                                              (b)(6)                            /   b 6)
 8. ORGANIZATION OR ADDRESS
 1-131 AYN, 36th CAB APO AE 09391




                                                                                                               (b)(3). (b)(6)

                              (b)(3), (b)(6)
                                                                                       (b)(3). (b)(6)
 We took off North East ~f Taji, and continued east, north of Baghdad. !<TI:moC111J=rarr=crCoalition Checkpoint is on we saw
 two Apaches hovenng high, and saw multiple Abrams tanks on the road where it looked like an !ED had just detonated. We also
 saw a small point burning at about I o'clock and assumed that we were caught in the middle of some engagement. We turned
 north to get out of the area, and descended to about 120ft and 130 KIAS. As we turned south through our next checkpoint, we
 heard another miss.ion of coalitio11 radio say that they had us in sight and were goin& to be a few kilometers behind us as we
 headed south. We were beaded 10uth on the east side of MSR Detro~'t route that we fly C ~ · ~ g{l' l'AYl9F·
               !hat CJ!alk.
  t'rallticly say             2 WIS bit. He was 11),...l!C.Jill::i..Jlk.2, and       AMOi,of the mission (b)(3), (b)(6)              I~~
 ~ . ~ ~ t h e i r airuaft. llld I ye&d                 (b)(3), (b)(6)       tum le boc&iac be - 011 dlo con             at die        aiid ¢ulilnlt
       ',mytbing. 1111w llllolce come from their                ,         w it catch fire. We saw Ind heard cballc two going dowa•t CPT
    aylor stayed on the internal frequency, telling CPT Lyerly to get the aircraft down and under control. He also said Mayday
      aday Cahlk2 going down, "ob God we're hit.• They tumed east and then back to·the west, and lgoked like ; y were goini to
 land hard in an open field. About the time they would have cwhioned the autorotation, the aircraf\fpowered II\', wont nose liiahf
 rolltd left, .and t1ien nose low. I didn't see them hit because we had turned all the way back north,'and I Jost" t of them while l
µtMJ"-l.!i'-'nu,,o get a radio call out. As we were landing in th1i'1-'"""'-"-"""LllJJn1dred meters from were they were bit, 1 yelled to the
    b 3. b 6 o grab the fire extinguishers and get out, Isa               (b)(3). (b)(6) jump out as we were landing. I called on Coalition
     a o ay y mayday and Fallen
 were inbound. 'The Bco 1111                         in a truck 1114 the Apaches ongapd' :
 aircra_ft went ~own, and th (b)(3), (b)(6 said that t!'ere were no survivors. I gave
                                                                                                         E
                                              el on guard, .and the 111::ol!ll)lllliY"Jl)lyS that were behind us, and those apaches said that they
                                                                                                          :     barely able to get out what
                                                                                                        ~my M4, and they went back ?ver to
 the Aircraft with a couple o e passengers. I tned to get the other passengers o , , t>u as only able to get them out m a
 perimeter to protect our left side. They had no targets to en e and some of them were taking pictures. By that time the other
 two black hawks had landed to cover our right side. The (b)(3) (b)(6 recovered a PT belt, and the M240 with its ammo all of
       •                   By that time we noticed that we wer             •          pounds of fuel, and needed to get back to Balad. We told
          b 3. b 6         and his crew this, and they decided to put us between them on the way back. It took a while to get all the
 passengers back on ard, and then we flew North west out of there to Balad. Upon Arrival, I called Helo West and told them
 that we needed help when we landed at our pad, after we shut down our aircraft, there were people out there to help us. Crew
 members that we couldn't recover were CPT Taylor, CPT Lyerly, !SG Warren, SGT Brown, and eight passengers. Twelve
 soldiers were left in the buring aircraft, that the Apaches, and some 108th aircraft were watching.
                                             ----end of statement ----                                             ------·-·-·····-··-··-·----···-




 10. EXHIBIT                                                                       ON MAKING STATEMENT
                                                                 (b)(3), (b)(6)                                     PAGE 1 OF              PAGES

  .00/TJONAL PAGES MUSTCO!'.!'TAFN THE HEADING nsTAIEMENT _ _•_                    TAKEN AT _ _ DATED

 THE BOTTOM OF EACH ADD!TfONAL PAGE MUST BEAR THE fN{TIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE
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9. STATEMENT (Continued)




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STATEMENTO                  (b)(3), (b)(6)       1 - - - - TAKEN AT               ----1-/_6_3c....(=)_ _




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                                             y '-----------'
                                             '-. ,-,    ,      (b)(3), (b)(6)




                                                                        AFFIDAVIT
     I,        (b)(3), (b)(6)      t - - - - , - - - - - • HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
 WHIC~_ _ _ _ _ _ _ _ __,,N PAGl;__j_. I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
 BY ME. THE STATEMENT IS TRUE. I HAVE INITIAUED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
 CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREEJYWIJ~W.HCIEE.fil.BEtill~q:R REWARD, WITHOUT
 THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INF                                  ENT.

                                                                                               (b)(3), (b)(6)
                                                                                                                          king Statement)


                                                                                 Subscribed and sworn to before me, a person authorized by law
 WITNESSES:                                                                                              ·, 1·               .-,:                   1
                                                                                administer oaths, this   ,r      day of       •~J- .~~-.! •        :.,.   ··t..:, ?

           (b)(3), (b)(6)           1-1--------

  ORGANIZATION OR ADDRESS
                                                                                                     (b)(3), (b)(6)
   JLr~(t,,,·.1/cL
                                                                                                                             min;stdring Oalhi
                                                                                                     (b)(3), (b)(6)
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INITIALS OF PERSON MAKING STATEMENT                    (b)(3), (b)(6)
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                                  PRIVACYACTSTATEMENT

  The Privacy Act Statement requires that, whenever personal information is solicited from an
  individual and the information will be filed as to be retrievable by reference to the name or other
  personal identifier of the individual, the individual must be advised of the following information:

  Authority: The general authority for soliciting this information is 10 USC § 3012. More
  specific authority(ies) may exist.

  I have been appointed by :J a, t, ,q.a_                          , LSA Anaconda, Iraq, to
  investigate the 191 INt-1 1 ff/{•/ L/11 /t-tetblSH-r. My findings and reco=endations as to
  appropriate action will be included in my report to -~J~le~C--~~B~---------
  UP AR 15-6.

  Routine Uses: Any information you provide may be disclosed to members of the Department of
  Defense who have an official need to know the information for the performance of their duties.
  In addition, the information may be disclosed to the Government agencies outside the
  Department of Defense.

  Failure to disclose:

          For soldiers and civilians not being advised of their Article 31 or UCMJ rights and
  civilians not being advised of their 5th Amendment rights: Providing the information is
  mandatory. Failure to provide information could result in disciplinary or other adverse
  action against you under the UCMJ or Army regulations or applicable civilian personnel
  regulations.

         For soldiers and civilians being advised of their Article 31 or UCMJ rights and civilians
  being advised of their 5th Amendment rights: Providing the information is voluntary. There
 will be no adverse effect on you for not furnlshlng the information other than that certain
 information might not otherwise be available to the commander for his or her decision in
 this matter.


                                                            (b)(3), (b)(6)


                                                                                      g~"     G INTERVIEWED


                                                                             (b)(3), (b)(6)


                                                   S18NATURE OF INVli&TIGATING OFFICER




                                                  DATE




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             .----~------s-w_o_RN-S-TA_T_E-ME_N_T---Exhibit                                                                                                                                                                              C
                                                                             For use of t:-iis form, sea AR 190-45; the proponent agency !s PMG.

                                                                                                             PRIVACY ACT STATEMENT
                AUTHORITY:                               TIiie 10 use Section 301; TIiie 5 USC Section 2951; E.O. 0397 dated November 22, 1943 (SSNJ .
                PRINCIPAL PURPOSE:                       To provide cornmanders and law enforcement officials with means by which inforrr.alion may be accurately :denlifled.
                ROUTINE USES:                            Your social security number is used as an additional/alternate means of Identification lo facilitate filing and retrie 1,al.
                DISCLOSURE:                              Dlsclosure of your social security number is voluntary.
                1. L   10                                                                                              2. DATE           (YYYYMMDD)
               Balad, Iraq                                                                                                        2007i0J/2l
                5.        NAME IR T NAME. MIDDLE NAME                                                                               6. SSN                                                                 7. GRADE/STATUS
                    (b)(3), (b)(6)
                8. 0 GANIZATION R ADDRESS
               C co l-l3lst Aviation Regt. AASLT
                9.
                        !,LI_ __:_(b;_)(;_3);_,;_(b;_)(;_6);_-,-_ _ _ J - - - - - - - - · WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:
               On 20 Jan 2007 at or around 1445 hours J observed a fluh on the          und behind Euy 40 our 1rail aircraft. Immediately after I saw the flub I black
               bur&t of 1mok• was ob'"l'""'-""""'"-"llt•Y 40. I told b 3 , b 6 halk 2 wu tu:in1 fire and was bil. I began ·to return fire in the dira-ction oft~
               flash at which time I tol (b)(3), (b)(6) lO bank le                     rull!l.!~,r,,ed Eaay •11ry to take evasive maocuvel'l. Fire was vi,ible from the
               top of tho maio rotor head and number en1ine area. (b)(3), (b)(6) n )(3), (b)( egan making radio calls for immediate assistance. I 1hen wa1ch_ed
               Easy 40 attempted to land in an open area. E11y 40               to ave contro 11 ey began land and then pulled up a, ff tryina to ttke off a,ain. F,a6y
               -t0 then beaan flyina fflttically for about 15 soeond1. Easy 40 then iotcd the o of the aircraft toward the ground and nev!r recovered, Elf)' .f0
               then struck the around nose firtt on the left aide of the cockpil, I told (b)(3), (b}(6) to get low and get lo the area of the crash. (b)(3), (b)(6,j
               maneuvered the aircraft ag ressivcl and landed within 100 meters o Easy 40. I began to lay suppressive tire before our aircraft touched down to
               secure the LZ. Myself an        b (3 , (b (6) itited our aircraft and ran lo the c ash to check for possible survivors. Myself and (b)(3), (b)(6)) assessed                                            j
               the situation and detennined t ere where no survivors. Myself and (b )(3), b)(6) stayed on the ground perfonning security lill air support arrived. Upon
               returning to our aircraft. b)(3, (b)(6 lnstruc1ed us to get back in because we where fuel critical. We reentered 1he aircraft after reloading our          __
               passengers. We were the escorte ac to Salad airbase by 10 other aircraft.                                                                         ~
                                                                                                                                                                                                                                       ~




                 10. EXHIBIT                                                                                    11.                                  ON MAKING STATEMENT
                                                                                                                             (b)(3), (b)(6)                                                             PAGE 1 OF             _J__ PAGES
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                 THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE                                                        ,ir

                 MUST BE BE INDICATED.
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-STATEMENT OF
                   I      (b)(3), (b)(6)
                                                 I        TAKEN AT   !000               DATED 2007/0!/2!


9. STATEMENT       (Continued)




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INITIALS OF PE.I
                   (b)(3), (b)(6)
                                    IJ ATEMENT
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    STATEMENT OF                (b)(3), (b)l6)                                                     DATED 2007/01/2!


    9. STATEMENT        (Cr;ntinuM)




          1,)       (b)l3), (b)(6)      J
      WHICH BEGINS ON PAGE 1,D ENDS ON PAGE
                                                          AFFIDAVIT
                                                               , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
                                                     . I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
      BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
      CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREE                                              RD, WITHOUT
      THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL /NFL

                                                                                  (b)(3), (b)(6)
                                                                                                                 lt1mant)

                                                                  '-"'1=====--m-roms,.-,.,.--.-,,.,,,,rl authorized by law to
                                                                  administer oaths, this ~ day of
      llTNfSSfS·       (b)(3), (b)(6)
                                                                   at
                                                                                                         ~-~-~,~---· 02
                                                                                 (b)(3), (b)(6)        I
                                                                              (S"/f}natufe of Person Administering Oath)

                        (b)(3), (b)(6)
                                                                             Ily/JO//   Nam~b;~~~~J,~~"""""'"'"'" th)
•               (       - J/
                                                                                    (Authority To Adm/nist&r Oaths)

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  INITIALS OF PERSON MAKING STATEMENT
                                                                                                    PAGE     3      OF      3   PAGES
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    PAGE 3, DA FORM 2823, DEC 1998


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                                 PRIVACY ACT STATEMENT

The Privacy Act Statement requires that, whenever personal infonnation is solicited from an
individual and the infonnation will be filed as to be retrievable by reference to the name or other
personal identifier of the individual, the individual must be advised of the following information:

Authority: The general authority for soliciting this infonnation is 10 USC§ 3012. More
specific authority(ies) may exist.

I have been appointed by 1 ?& t,Q,/3                             , LSA Anaconda, Iraq, to
investigate the 19 I iN>-<1 4f/J•t '/tJ GH4#/fltl!S14rMy findings and recommendations as to
appropriate action will be included in my report to _ ___._,?,_,.(,,"--'C.=~:>o<..--------
UP AR 15-6.

Routine Uses: Any infonnation you provide may be disclosed to members of the Department of
Defense who have an official need to know the information for the performance of their duties.
In addition, the information may be disclosed to the Government agencies outside the
Department of Defense.

Failure to disclose:

        For soldiers and civilians ,wt being advised of their Article 31 or UCMJ rights and
civilians ,wt being advised of their 5th Amendment rights: Providing the information is
mandatory. Failure to provide information could result in disciplinary or other adverse
action against you under the UCMJ or Army regulations or applicable civilian personnel
regulations.

        For soldiers and civilians being advised of their Article 31 or UCMJ rights and civilians
being advised of their 5th Amendment rights: Providing the Information is voluntary. There
will be no adverse effect on you for not furnishing the information other than that certain
information might not otherwise be available to the commander for his or her decision in
this matter.



                                                .J                      (b)(3), (b)(6)                   I
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                                                                SWORN STATEMENT                                   Exhibit D
                                            For use of this form, see AR 190.-45; tha proponent agency is PMG.

                                                                PRIVACY ACT STATEMENT
AUTHORITY:                  Title 10 USC Section 301; Title 5 USC Section 2951; E.O. 9397 dated November 22, 1943 (SSN,l.
PRINCIPAL PURPOSE:          To provide commanders and law enforcement officials with means by which information may be accurately identified.
ROUTINE USES:               Your social security number is used as an additionaUalternata means of Identification to facilitate filing and retrieval.
DISCLOSURE:                 Dlsc\osure of your social security number is voluntary.
1.    A ON                                                              2. DATE   (YYYYMMDD)
LSA Anaconda                                                                  2007/0 l/2 l
                            ME, MlODLE NAME                                   6. SSN                                          7. GRAD
       (b)(3), (b)(6)                                                                              (b)(6)                                    (b)(6)
8. ORGANIZATION OR ADDRESS
36thCAB Co.C l/131 AYN
9.
      1IL.._ __;_(b..:)(:...3"-),_;_(b..:)(:...6.:..)_ _J...--_ _ _ _ _ _ _ _ • WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:
We landed at Taji wilh packs on board chalk 2 they emptied out and then we loaded & packs on board chalk 2 for the flight to Liberty. We took off
from Taji and after being in flight for about 15~20 minutes we crossed a road (coalition check point) that had several tanks and ape's on it. Off in the
distance we noticed a plume of black smoke and amongst ourselves in the aircraft concluded that there was something going on. We new a little
farther and then made a right turn south towards Baghdad. Just after we made the tum b)(3), {b)( me over ics and said chalk 2 was taking fire.
Almost immediately CpL Ta lor came over the radio saying they were taking fire and cal e may ay. We immediately turned left to keep chalk 2 in
sight and at the same time b)(3), (b)( as returning fire. It was a very steep tum so from my side (right) I couldn't sec anything but sky. As we came
around l got eyes on chalk an no teed a lot of smoke trailing off the aircraft and it was engulfed in flames. 1 again lost sight of chalk 2 as we
continued to circle around and didn't have eye& on until after we came around again and landed. At that time they (chalk 2) had already impacted the
ground. Myself an~b){3), (b)(iji)nmediately exited the aircraft and ran towards the crash sight. I was first on the scene and ran towards the nose of
the aircraft to begin assessing the damage and sea~hing for survivon. We remained onsite until aerial support showed up and our fuel status required
                            I                     f' • \          .
that we take off.        A.}'-'' f- \.') 1 11 &l 'I; 0 \ , ovv 1:-, •
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 10. EXHIBIT                                                      11.             F PERSON MAKING STATEMENT
                                                                                                                            PAGE 1 OF      ~ PAGES

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     UST BE BE INDICATED.
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STATEMENT OF    L _ _'.::(b::_)(_:.:3):_,(:::_b'.:_)(6:_:)_ ___J---- TAKEN AT _l_l_00_ _ _ _ __ DATED 2007/0!i21

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  WHIC
      I,
         j~--------------==='·I
                           (b)(3), (b)(6)           ,__ _ _ , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
                                                      I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECT!
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FRE
 THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INF..                               (b)(3), (b)(6)




                                                                  Subscribed and sworn to before me, a person aulhorized by law to
                                                                administer oaths, this ~ day of            ,Jr,[   V\        , Q)
                (b)(3), (b)(6)                                    al



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                                                                              (Slgnafur9 of Person Administering Oath)


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                                  PRIVACY ACT STATEMENT

 The Privacy Act Statement requires that, whenever personal information is solicited from an
 individual and the information will be filed as to be retrievable by reference to the name or other
 personal identifier of the individual, the individual must be advised of the following information:

 Authority: The general authority for soliciting this information is 10 USC§ 3012. More
 specific authority(ies) may exist.

 I have been appointed by      :J {c l-14-i!,                                 LSA Anaconda, Iraq, to
 investigate the /l / III/H1 W'/ yP f1:1t,N'1"5N.rM.y findings and recommendations as to
 appropriate action will be included in my report to ~lL..=<--'--'lA::.:.,;.,._13.,__ _ _ _ _ _ _ _ __
 UP AR 15-6.

 Routine Uses: Any information you provide may be disclosed to members of the Department of
 Defense who have an official need to know the information for the performance of their duties.
 In addition, the information may be disclosed to the Government agencies outside the
 Department of Defense.

 Failure to disclose:

         For soldiers and civilians not being advised of their Article 31 or UCMJ rights and
 civilians not being advised of their 5th Amendment rights: Providing the information is
 mandatory. Failure to provide information could result in disciplinary or other adverse
 action against you under the UCMJ or Army regulations or applicable civilian personnel
 regulations.

         For soldiers and civilians being advised of their Article 31 or UCMJ rights and civilians
 being advised of their 5th Amendment rights: Providing the information is voluntary. There
 will be no adverse effect on you for not furnishing the information other than that certain
 information might not otherwise be available to the commander for his or her decision in
 this matter.

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                                                                              (b)(3). (b)(6)


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                                                           SWORN STATEMENT
                                     For use of this f°'m, see AR 190-45; the proponent agency Is PMG.
                                                                                                                    xhibit E
                                                          PRIVACY Ar:f STATEMENT
                        TIU• 10 use Saction 301; TiUe 5 use Section 2951; E.O. 9397 dated November 22, 1943 (SSNJ.
                        To provide commanders: and law enforcement officials with means by which information may be accurately identified,
                        Your social security number 1$ ustd as an addltional/altemate me.ans of Identification to facl!ltate filing and retrieval.
DISCLOSURE:             Disclosure of your social security number Is voluntary.



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10. EXHIBIT
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 BY ME, THE STATEMENT JS TRUE, I HAVE INITIALED ALL CORRECT                                        CH PAGE
 CONTAINING THE STATEMENT, I HAVE MADE THIS STATEMENT FR                                           WITHOUT
 THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL 11

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  ORGANIZATION OR ADDRESS                                                          (Authority To Administer Oaths)

INITIALSO                       STATEMENT




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                                                        SWORN STATEMENT
                                  For u&e of this form, see AR 190~; the proponent agency Is PMG.
                                                                                                             Exhibit F
                                                       PRIVACY Ar:T STATEMENT
                     Titie 10 USC Stction 301; Titlt 5 USC ·section 2951; e.o. 9397 dated November 22, 1943 (SSNJ.
                     To provide commanders and t,w enforcement officials with means by which in_formatlon may b8 accurately identified.
                     Your social aecurity number is used aa ah add\tionaValternate means of identification to fecilitate'filing and retrieval.
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 10. EXHIBIT                                             11. INITIALS OF PERSON MAKIN                      NT
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                                             ,,__ _ _ , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
 W H J C , I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
 BY ME. THE STATEMENT JS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
 CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FRE                                          WITHOUT
 THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL IN
                                                                           (b)(3), (b)(6)




 m,T.,                                                       Subscribed and sworn to before me, a person authorized by law
                                                           administer oaths, this.M.._ day of 'j ,4 /-(             , U":f
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  ORGANIZATION OR ADDRESS                  •               L---.,...,,,..,,=••-~_:~i-)1)1-~3)_,(-b)-(6-~-"_,,_,- • • - • - = ~ ~




  ORGANIZATION OR ADDRESS                                                     (Authority To Administer Oaths}


INITIALS OF PERSON MAKING STATEMENT
                                                                                             PAGE          OF ,2       PAGES

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                                                                              swoRN STATEMENT                                                Exhibit                        G
                                                  For uat of this form, see AR 190-45; the proponent agency is PMG.

                                                                   PRIVACY ACT STATEMENT
                                 Title 10 USC Section 301; Title 5 USC Section 2951; E.O. 9397 dated November 22, 1943 (SSN) •                         .
                                 To provide commanders and Jaw enforcement officials with means by which lnfoonation may be a~rately lde~tifted.
                                 Your social security number Is used as an additional/alternate means of Identification to facl!itate filing and retrieval.
                                 Disclosure of your social security number is voluntary.
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     DA FORM 2823, DEC 1998

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  'TATEME',T OF Jc._ _ _(_b_H_)_,(_b)_(6_)_ _   _,1--   TAKEN AT ~-L/_U_'{.,__,5',__ _




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                   (b)( ), (b)(G)        I                    ,
                                                            HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE-2.._. I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
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  THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL
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  ORGANIZATION OR ADDRESS                                                      (Authority To Administer Oaths}

INITIALS OF PERSON MAKING STATEMENT
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PAGE 3, DA FORM 2823, DEC 1998                                                                                               USAPAV!.00

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                                                           SWORN STATEMENT
                                       For use of this form, see AR 190-45; the proponent agency Is PMG.
                                                                                                               Exhibit H
                                                          PRIVACY A<::f STATEMENT
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                        Disclosure of your social security number ls voluntary.



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                      (b)(3), (b)(6)




   OITIONAL PAGES MUST CONTAIN THE HEADING 'STATEMENT OF                              TAKEN AT              DATED


 THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
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DA FORM 2823, DEC 1998

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• STATEMENT Of     ~L___(:_b:_)(3:_)_,(_b):_(6:_)_ __ , - - - - TAKEN AT --/_f.,_1/~/;____ C·.~TED ~7- I I ( ~

3. STATEMENT       ,:Continued)                                               j




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                                       ENOS ON PAGILJ_. I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT                                      REWARD, WITHOUT
  THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFU                                      ENT.
                                                                              (b)(3), (b)(6)

                                                                ~----------~king Statement)
  WITNES                                                            Subscribed and sworn to before me, a person authorized by law
                                                                 administer oaths, this~ day of                  'J' tJ H              , g Y
                                  (b)(3), (b)(6)                 at 'i},1, .,,..

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   ORGANIZATION OR ADDRESS                                                          (Authority To Administer Oaths)


              PERSON MAKING STATEMENT
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                                                          SWORN STATEMENT
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                                                                                                              Exh,·b,·t I
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                       Your social security number Is used aa an additional/alternate means of Identification to facilitate filing and retrieval.
                       Disclosure of your social tecUrity numb6r is voluntary.
                                                                                                                           .   ILE


                   (b)(3), (b)(6)                                                        (b)(6)                                        (b)(6)




g_   11           (b)(3), (b)(6)
                                                                      , WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:




                                             fullow~




10. EXHIBIT                                                 11.                    RSON MAKING STATEMENT
                                                                  (b)(3), (b)(6)                                        PAGE 1 OF

 DDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF                              TAKEN AT              DATED


THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
MUST BE BE IND/CA TED.

DA FORM 2823, DEC 1998                                    DA FORM 2623, JUL 72, IS OBSCLETE                                                         APDPEvt.01


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                                                                     UNCLASSIFIED


     STATEMENT OFI              (b)(3), (b)(6)            ~ TAKENAT ...cfc.:U;:_:c_)<.:;"t:J_ _ _ _ DATED /J.t,Jpr-CJ(,/1,:!)
-    9. STATEMENT (Ccnt;nuod)




                                                    (b)(3), (b)(6)




                                                                      AFFIDAVIT
          I,           (b)(3), (b)(6)                                    , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
      WHICH     I    ON PAGE 1. AND ENDS ON PAGE              . I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE


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      THREATOFPUNISHM.ENT,ANDWITHOUTCOERCION,UNLAWFU-                                     ~ - - . (b)(~,-~)(:______

                                                                                                 r.r.,                     s,r-
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                                                                                                                                  _, .. ou
                                                                                                                                             ..        L
                                                                                Subscribed and sworn to before me, a person authorized by law to
                                                                           administer oaths, this .l::u_ day of            ::J>'J.H                   , IP ":f
                                ~b)(6)
                                                                           at       ~'9UAJI        -
                                                                                                          (b)(3), (b)(6)
                                                                            .
      ORGANIZATION OR ADDRESS

                                                                                                         (b)(3), (b)(6)
                                                                            -                                                                     I

      ORGANIZATION OR ADDRESS                                                                    (Authority To Admln/slor Oaths)

    INITIALS OF PERSON MAKING Sli
                                    (b)(3), (b)(6                                                                   PAGE ,;l.     OF ..,(               PAGES
    PAGE 3, DA FORM U2J, DEC 19                                                                                                                          USAPAV1.00



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Pages 14 I through 142 redacted for the following rcas{)ns:

(b)(6)
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                                                              swoRN STATEMENT
                                      For use of thia form, see AR 190-45; the proponent agency is PMG.
                                                                                                               Exh,·b,·t                            J
                          .                                 PRIVACY ACT STATEMENT
AUTHORITY:               Tille 10.USC Section 301'• Tit\e 5 use ....,ctJon
                                                                ••         2951; E.O. 9397 dated November 22, 1943 (SSN)
PRINCIPAL PURPOSE:       ~::rrovi~e oom~ndars and law enforcement officials with means by which Information may be a~urately identified
ROllTINE USES:           Dlsci socia1secunty numbar Is us.ed as an additionaUaltemate means of Identification to facilitate filing and retrieval •
DISCLOSURE:                   01ure of your social security number i1 voluntary.                                                                •
1.                                                                2. DATE (YYYYMMDD)
                                                                   J.<>'JAN ZCO"t
                                                                           6. SSN                                                        TATUS
                   (b)(3), (b)(6)                                                        (b)(6)



9.
                     (b)(3), (b)(6) _ _ _J__ _ _ _ . WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:
        '-----~:..::_:::.:.:.:::_

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     C.tc:. w lhe'"'.l.er.s, wi+I\.             ~ +ire cx+,r1.3 u;s.1-..e:,, ,..~,,._ fo /1,..e C.r<lSh. s. '-1-e.                              1



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     ~lieopl-e.c f,Hf\ ~fte-r, cl                              bv.S           ickd us vp ~nd took. u.s
     br-e-. -------                                                         (b)(3), (b)(6)




              (b)(3), (b)(6)                                                                                                   (b)(3), (b)(6)




                                                                        (b)(3), (b)(6)




f'1io:o.""jex~H1iiiisrrrr---------==r~~~;;;;;;;;;;;;;;;;;:=~~~~==---r----4)(3),
                                   11. INITI   RSON MAKING STATEMENT
                                                                                (b)(,..__ _,
                                                                          )(3), (b)( )                                    PAGE 1 OF        !:,,--,..,l,1GES

      DITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT                     _ _ TAKEN AT _ _ DATED


 ~~~~~1:i:,i;,~;;;DDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER

                                                                                                                                                        APDPEv1.01
 DA FORM 2823, DEC 1998                                       DA FORM 2823, JUL 72, IS OBSOLETE


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                                                                    UNCLASSIFIED

                              (b)(3), (b)(6)
 STATEMENT OF                                                       TAKENAT _ _,_z~(C)
                                                                                    _ __                           DATED ~c,,f.,1,;)
                 '--------------1-
  . STATEMENT (Ccntinuod)




                                                   (b)(3), (b)(6)




          ~---------~                                  AFFIDAVIT
      I,   I        (b)(3), (b)(6)             I                       ,
                                                            HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH~IN5 ON PAGE I, AND cND6 ON ~AGEJ. I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS ANO HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD, WITHOLIT
  THREAT OF PUNISHMENT, AND WJTHOLIT COERCION, UNLAWFUL INFLU,                                                                                                    I
                                                                            --l                                   (b )(3 ), (b )(6)                               ~
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  WITNESSES:                                                                 Subscribed and sworn to before me, a pe~on authortzed by law to
                                                                           administer oaths, this .&_ day of        14 H      J    , tJ?¥
                                                                           at:_____,r-_..l!.~'M,...L,M~--------,..-
                        (b)(3), (b)(6)
                                                                                                             (b)(3), (b)(6)
  ORGANIZA

                                                                                                            (b)(3), (b)(6)



  ORGANIZATION OR ADDRESS                                                                          (Authority ToAdministoroaths)




------o,,..,_,..,,,,......-zJ,;,-------------------------------------..
                       MAKING STATEMENT
          b)(3), (b)( )                                                                                               PAGE ;).           OF : )          PAGES
PAGE 3,               DEC 199'                                                                                                                            USAPAVf.00


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Pages 146 through 147 redacted for the following reasons:

(b)(6)
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                                                                          SWORN STATEMENT
                                                    For use of this fOfm, see AR 190-45; the proponent agency ls PMG.
                                                                                                                                    Exhibit K
                                                                      PRNACY ACT STATEMENT
AUTHORITY:                           Title 10 USC Stction 301; Ti11o 5 use Section 2951; E.O. 9397 doted November 22, 1943 (SSNJ.
PRINCIPAi. PURPOSE:                  To provide commandtrt; and law enforcement officials with me.ans by which information may be accurately identified.
ROUTINE USES:                        Your social ..writy number la usad a.s an addlttonal/altemate means of fdentiflcation to facilitate filing and retrieval.
D!SCLOSURE:                          Disclosure of your social i0Curity number Is voluntary.
1.                 .

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                                     (b)(6)                                                                   {b)(6)                                 {b)(6)


       c:.LE
g      I,   J~_______                              (_bl_(6_)_ _ _ _ _ __,I• WAflT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:

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     ~'1-UC< \           '--"A-(\J....v.\-<-,            ~\er           \.,.JQ_   '\-v.&.,,\          .,,)-    'I) ...     \..,J.      i\.-."<' i.-<~, ~(l<>\W':'.:10 lotY..S
 10. EXHIBIT                                                                 11. INITIALS              N MAKING STATEMENT                                             {b)(6)           I {b)(G) I
                                                                                                                                           PAGE 1 OF                            GES
                                                                                             (b)(B)
      DITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF                                           TAKEN AT                  DATED

 THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
 MUST BE BE INDICATED.
                                                                           DA FORM 2823, JUL 72, IS OBSOLETE                                                              APDPEv1.01
DA FORM 2823, DEC 1998

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                                                  UNCLASSIFIED


 STATEMENTOF L...__ _ _ _(b)(G)
                          _ _ _ _ _ _, - TAKENAT              -~/_b,_J~'f~f~-- DATED J¢7t!/,:)/)
 9. STATEMENT {Conffnued)




                                                   (b)(6)




                                                         IOAVIT
      I,                      (b)(G)                      , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH '-=~========...,==-rn,=I UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT I-IOPE OF BENEFfTOR REWARD WITHOLfT
  THREAT OF PUNISHMENT, AND WITHOLfT COERCION, UNLAWFU
                                                                                 (b)(6)



  WITNE•~---------------,                                   Subsctlbed and awom to before me, a person authorized by law to
                                                        administer oaths, this ~ day of             JAN           , el"{



   ORGAN
                            (b)(3), (b)(6)

                                                        ·1 -·· :-:, '""'
                                                                                   (b)(3), (b)(6)                I
                                                                       (TypSd Name of P•rson Mminlmring Oath)

              ON OR ADDRESS                                                  (Authomy To AdminiS/er Oath•)

      )(3), ( b ) ( l " - - - - - - - - - - - - - - - - - - - - - - ~ - - - - - - - - - - - - - 1
  ITJAl,,...,-..J1.SON MAKING STATEMENT
                                                                                            PAGE    A OF ,1          PAGES
PAGE 3, DA FORM 2123, DEC fg/18                                                                                      U.!APA. Vf .00



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Pages 151 through 152 redacted for the following reasons:

(b)(6)
                                                                 UNCLASSIFIED




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                                                                        SWORN STATEMENT
                                              For use of this form, see AR 190-45; the proponent agency is PMG.
                                                                                                                           Exhi"bi"t L
                                                                 PRIVACY ACT STATEMENT
                               Title 10 use Section 301; Title 5 use Section 2951; E.O. 9397 dated November 22, 1943 (SSN) .
PRINCIPAL PURPOSE:             To provide commanders ai:ici law enforcement officials 'Mth means by which Information may be accurately Identified.
                               Your social HCUrity number is uNd as an additional/alternate means of identification to facilitate filing and retrieval.
DISCLOSURE:                    Disclosure of your S9cial security number is voluntary.
 .       N



                                                                                                         (b)(6)                          (b)(6)



9.
                                (b)(6)
      ~ - - - - - - - - - - - ' - - - - • WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:




10. EXHIBIT                                                              11. INIT
                                                                                            (b)(6)                              PAGE 1 OF                 PAGES

 ~,o;i;,rric,oiNWAL~P¼,IGJGE~S:i:MruU;g:STr(C:COWNVTAW/NllT:rHHEEHHIEA~DIWNGIPS"S1)TAirTEIEMci°iEiNr1T6.---,,JEN AT     DATED

THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, ANO PAGE NUMBER
MUST BE BE /NO/CA TEO.

DA FORM 2823. DEC 1998                                                 DA FORM 2823, JUL 72, IS OBSOLETE                                                  APOPEv1.01


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                                                        UNCLASSIFIED



STATEMENT or


 . STAT'::MEMT /Continued)




                                                    (b)(6)




                                                         FFIDAVIT
                                         (b)(6)




                                                             I                                                                             L
                                                          , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
 WHIG                                              FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
 BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
 CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT
 THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFU
                                                         .                        (b)(6)

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                                                                    Subscribed and sworn to before me, a person authorized by law
 WITNES~S~E_S:~---~------~
                                                               administer oaths, t h i ~ day of                    J /lrl.               , &#
                                                               at      OA~J>",          -   ...

                                (b)(3), (b)(6)
                                                                                        (b )(3 ), (b )(6)
                                                                                                                                  ath}


                                                                I                                 (b)(3), (b)(6)

                                                                            • (Typed Name of Person Administering Oath)
                                                                                                                                             I
  ORGANIZATION OR ADDRESS                                                           (Authority To Administer Oaths)

INITIALS OF PERSON MAKING STATEMENT
                                                                                                            PAGE             OF ,.'1,     PAGES

PAGE 3, DA.FORM 2823, DEC 1998                                                                                                            USAPAV1.00


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Pages 156 through 157 redacted for the following reasons:

(b)(6)
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                                                                    SWORN STATEMENT
                                                For use of this foon, ... AR 190-45; the proponent agency Is PMG.
                                                                                                                    ex·h,·b,·t M    •

                                                             PRNACY ACT STATEMENT
                           Titte 10 use Section 301; Title 5 use Section 2951; e.o. 9397 dated November 22, 1943 (SSNJ.
                           To provi~e comm~nders and law enforcement officials with means by which Information may be accurately Identified.
                           Your sooal secunty number is used u an additionaValternate maens of identification to facilitate filing and retrieval.
                           Disclosure of your social security number Is voluntary.
                 9-1   l \-.           1.                                2. DATE (YYWMMDDJ
                 VI\Ll\lJ"C.l\ftlS\1 ~\~ VAX'ftil1                            001 Q\ 7,.0
                                                                                                                                                 us
                               (b)(6)                                                             (b)(6)




          L___ _ _ _ _ _ _ _ _ _                                  i-----, WANTTO MAKE THE FOLLOWING STATEMENT UNDER OATH:

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1/W... \,.tJo.     \ \1\10-.~ ~di;1V\.j                           OV\        t\M Rlt)lff ~1<U. 1 ~11-.C,l"'-j                      fl,u_ Y-t-0,,Y"

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                                                                                                                                        (b)(6)
10. EXHIBIT                                                          11. I                   ON MAKING STATEMENT
                                                                                 (b)(6)                                  PAGE 1 OF                     PAGES

      DITIONAL PAGES MUST CONTAIN THE HEADING 'STATEMENT OF                                  TAKEN AT           DATED

THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
MUST BE BE INDICATED.

DA FORM 2823, DEC 1998                                             DA FORM 2823, JUL 72, IS OBSOLETE                                                  APDPEv1.01


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                                                                        UNCLASSIFIED


 STATEMENTOF        l~_____               <_b_)(6_)_ _ _ _       ~L    rAKENAT -~/_u_'f~l
                                                                                        _ _ _ DATED ,:,.,V-,.UIJJ!'

 9. STATEMENT (Confinued)
                                                                             ~




                                                                             (b)(6)




          I                                              b;AFFIDAVIT
      I,~                    (b)(G)                             , HAVE REAO OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH OCOli\J Vh nrue I, ,u,o CI\IPO ON FA\.it:__z:_. iULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE Of BENEFIT OR REWARD, WITHOUT
  THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INF~U
                                                                                        (b)(6)
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  WITNESSES                                                                    Subscribed and sworn to before me, a person authorized by law to


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                                                                                                                                                      L
  ORGANIZATION OR ADDRESS                                                                        /Authcrity To Administer Oaths)

INITIALS OF PERSON MAK
                                          (b)(6)
                                                                                                                  PAGE,:)..        OF                PAGES
PAGE 3, DA FORM 2813, DEC fgll8                                                                                                                      USAPAVl.00



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Pages 161 through 162 redacted for the following reasons:

(b)(6)
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                             TAB




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                                                                                     SWORN STATEMENT
                                                        For use of this form, sae AR 190.45: the proponent agency lS PMG.
                                                                                                                                                      Exhibit N
                                                                                    PRIVACY ACT STATEMENT
lAUTHORITY:                           Title rn use Seclion 301; nue 5 use Section 2951; E.O. 9397 dated November 22, 19:13 (SS,\J,l .
• PR1NCIPAL PURPOSG:                  To provici8 commanders and law enforcemenl officials with means >;Jy which information may be accuratS!ly identified.
 ROUTINE USES:                        Your social security number is used as an addiUonaValtemate means of identiiication to facilitate filing and retrieval.
 DISCLOSURE:                          Disclosure of your social security number is voluntary.                                                       •
 1. LOCATION                                                                                2. DATE         (YYYYMMOD/                 3.    IME              4.
 38S MB 6744 9982                                                                                      2007/01/20                              1430
 5. LAST NA.ME, FIRSl NAME, MIDDLE NAME                                                                 6. SSN                                                7. GRAD

        (b)(3), (b)(6)                                                                                                           (b)(6)                                 (b)(6)
              ""'"" """ o          ADDRESS
 B CO 1-131 AVN
 9.
         1.   j             (b)(6)                  I                                               , WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:
 On Jan L20-th-20_0_7_at:.'.1:'.;4:;'.15'...,..Ea-,-FI-;_hj-t,-E-a,-5"'6-a-nd-:-6-::2-,-:-C-:-h,-::lk-1a_n_d_2_.I was AMC in chalk I with!
                                                                                                                 (b)(3), (b)(6) ~nd\         (b)(3), (b)(6)        \
                                                              . We Departed Balad on the 0I20A mission. About IO minutes into the flt we noticed a flight of
frmtRKra]'ij!Y<"'11111]ri,iorirm/wi,.r,mCWJfffiflrem,ll south at 150-200 Ff and after a few minutes the other Chalk tumed south to parallel us. They
  where approx 3-4 rniles ahead and to our west. After approx 5 min we noticed~ white puff of smoke and observed a trail of py/wbite 1mok.o,~~,.,. --.:
  frotn chllk 2 of the othor flL !lo made an e,.. t tum to tho left and wu attmptin1 to land he almost lande4, then thcalc 1hot appm 1$0-ll!!lll:.1!!!!;1(,;;
  i_nt:ei the air and erectly mad a sharp tum to the &oft the flew &tni&ht into the arou            •      lmpae1. At thil point we where approx I mi1o••Y ~
  vii, enroutc to aid wistance. Chalk one of the oth&r flt had a!Rldy landed wh<n (b)(3), (b)(6 noticed a white four door pickup l?\ICk ~11'!,i.Ji''
  tQJhe east! We went after the truck and spoUed 3-4 men jumpin1 ftom the truck• runnu11, we begin to tftBQCI the tNCk. aed the man, M.t}l'-"JU.11"
 &nd chalk 2 made multiple plSiCI at the tnu::k lottins both 41 and ce fire at th« true\:. and tbc men. At one point one of the mon pulled IA.ttMi~'lhe
  i,.-kofthetruck and fired at vs. we whtr< no ..,,.dWl 15 ft fn>m thc blul od wu not bit by the RPO. Afterweha4 killed all the tl!,.i.,11'&'
  ~ G:ur coverage of ucurity. Clo.ser 10 the wreckage we discovered 11 2 barrel AA gun bidden in trees and brush. Chalk 2 firod rnuhiplc l'O\lttds in_-.
  a-nd atound the weapon system, As the AH•64 's where showing on station we and the threat was dead! We landed to the right of the crash to provide
  ,;ecurity and our Chalk 2 landed to lhe left of the crash site to provide security. Once we detennined that there was no survivors we gathered all paxs
     :al had eitited to provided additional security and left as a flight of three with they're chalk l as Chalk 2 in our flight and headed back to Ba lad. lt is my
    elief that the lhreat did not expect 2 more aircraft coming from the easl and we su1prised them.                 •v              1 oft e other fli ht was at
  anger of being drawn in and fired upon/                                 /Lh; /j,"_.              ;-:;   /{;< , ,. ____                               (b)(J), (b){a)




   0. EXHIBIT                                                                          11. INITI                            MAKING$TATEMENT                              :)
                                                                                                       (b)(3), (b)(6) f--'-'----.....J~P-A_G_E_1_o_F,..·=...,z,__=,
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  ADDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENTt..---....JIKEN AT                                                                           DATED

  THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
  MUST BE BE INDICATED.                                    •
                                                                                     DA FORM 2823, JUL 72, IS OBSOLETE                                                           APDPEvt.01
 DA FORM 2823, DEC 1998
                  USARCENT FOIA FA-22-0067 Tranche1                                                  UNCLASSIFIED
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                                                                      UNCLASSIFIED




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                                                     AFFIDAVIT
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       '-----(~b-)(_)_,_(b_)(_S_)_ _.,__ _ _ _ _ _ _ _ _ , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH BEGINS ON PAGE 1, ANO ENDS ON PAGE                      . I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED All CORRECTIONS ANO HAVE INITIALED THE BOTTOM OF EACH PAGE


                                                                                                I
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD, WITHOUT
  THREAT OF PUNl~H.:ENT, AND WITHOUT COERCION, UNLAWFUL INFLl

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                                                                           ,____________________,I     (b)(3), (b)(6)


  WITNESSES:                                                                Subscribed and sworn to befolll me, a person aulhorized by law to
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                                                                          administer oaths, this              day of     \t-"!1':f .t~•-t            J.o,,.:,,
               (b)(3), (b)(6)                                               at      • "'.>,                                            /




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  6RliANIZATION OR ADDRESS

INITIALS OF PERSON MAKING STATEME                                                                                                           '1
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PAGE 3, DA FORM 2823, DEC 1998

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                                                                                                                                                                                                                                             Exhibit 0
 ~,uJ r.               J!                                            ·cjt,-~ '.;; -.~'.JC 3,s,;;, .;' ;:\1                       T.:12 ~ USC Sec::c,~ 2951. E.G. DJ97 dd!-?-<i N::-;,:,;nb"!( ·:2, ;:~.1-.~ (:)~;1'1i
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 DISCLOSURE:                                                         Disr:Jc~ur';a cf Y•)Ur soC'i~I 38r.'.lri!y m1mber is 'I0!untary.
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10. EXH!BIT                                                                                                                                      11                    C,   OF PERSON MAKING STATEME~T-
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ADDITIONAL PAGES MUST CONTAIN THE HEADING 'STATEMENT OF
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THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
MUST BE BE INDICATED.

DA FORM 2823, DEC 1998                                                                                                                       DA FORM 2823, JUL 72, IS OBSOLETE                                                                                                                              APO PE vl 01


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el    STATEMENT OF


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                                                                               AFFIDAVIT
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       WHICH BEG'i'i3SDN PAGE 1, AND ENOS ON PAGE                           I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
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       BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INIT!ALEO THE BOTTOM OF EACH PAGE
       CONTAINING THE STATEMENT, 1HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REW Ano, WITHOUT
       THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL lNFLUE                                                                 DUCEMENT.
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                USARCENT FOIA FA-22-0067 Tranche1                             UNCLASSIFIED
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                                                                                                           UNCLASSIFIED

                                                                                               SWORN STATEMENT
                                                                    For use of !his form ' see AR 190 -45 ,• the proponent agency is PMG.                 Exhibit P
                                                 .                                   PRIVACY ACT STATEMENT                                                 •
-   AUTHORITY:                                  Title
                                                To    10 use Sectiond 301 ,• Title 5 uses ectmn
                                                    provide                                   - 2951; E.O. 9397 dated November 22, 1943 (SSN).
    PRINCIPAL PURPOSE:                                      comman ers and law enforcement officials with mean b            • •       •
                                                Your social security number is used as         dd·t·        ·•     s Y which information may be accurately identified.
    ROUTINE USES:                                 .                                       8n a 1 1ona1/atlernate means of 1'd tTI  1-      f ••         •
                                                Disclosure of your social secun·t        b .           ...-                  en ica 10n to ac1l1tate fihng and retrieval.
    DISCLOSURE:                                                                     Y num er Is voluntary.
    1. LOCATION                                                                            2- DATE (YYYYMMDD)            3. TIME                   4. FILE NUMBER
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                            (b)(3), (b)(6)                                                                                                                                           (b)(3), (b)(6)
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    8. ORGANIZATI N                     R ADDRESS
              • <. C {-ltl SJ A u'I'/
    g_         I,   J             (b)(3), (b)(6)                  I
     01 )ot')(.'/'JO fl11Sr10"':i!. c!JC:1 4. /"?)S'y 41r~r-Y·1 ,r6 c.,.,/6 ,:1..
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     l<..J'i"-1'-           "t<7        4-,)        ,-✓-./--.;: ,:"c,,d +/•,_;,-p- lc(,'/"""y://rJ                                 /., ,.,_,., 1.J--"-"'-,~          /,-: f ':J°"''lh.                 iJ y     c>~:.•-lt •

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          ey..i.          t.J/N'               11,,,/,c,,f-,C-r•'JuSt/.J-{,;.:,,• ,,., .,Sl))/Yf' (7tJ4'i?f:J c,f}I/J(>, 111yc,v,,..,;
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                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ TAKEN AT                                                             DATED _ _ _ _ _ _ _ _ __
  STATEMENT OF


  9. STATEMENT                    (Continued)




                                                                               AFFIDAVIT

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              I, L = = ~ (~b)~(J~)~,(b~)(~B)~=~,.J-~~----;------· HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
                                     7
     WHICH BEGINS ON PAGE 1, AND ENOS ON PAGE
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                                                                       l,   I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
     BY ME. THE STATEMENT IS TRUE. l HAVE fNIT!ALEDAlL CORRECTIONS AND HAVE JNJTIALED THE BOTTOM OF EACH PAGE
     CONTAINING THE STATEMENT. ! HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD, WITHOUT
     THREAT OF PUNISHMENT, AND \l✓IT40UT COERCION. UNLAWFUL INFLUENCE, 0                                                           EMENT,
                                                                                                         (b)(3), (b)(6)
                                                                                                                                  rson Making Statement)

                                                                                       Subscribed and sworn to before me, a person authorized by !aw to
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                                         (b)(3), (b)(6)                                ,,                                                                 '
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          . -----·"'·--------------
                                                                                                                                                                   Exhibit Q
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                                                                                           SWORN STATEMEMT
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      10. EXHIBIT                                                                            11. !NIT                                   AKING STATEMENT
                                                                                                               (b)(3), (b)(6)                                                    PAGE 1 OF                   PAGES

          DDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF                                                                TAKENAT _ _ DATED


      TH£ BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STA~EMENT, AN? PAGE NUMBER
      MUST BE BE INDICATED.                                                                                                                                                                                 fu'OPEv' IJ1

     DA FORM 2823, DEC 1998                                                                DA FORM 2823, JUL 72, IS OBSOLETE


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     WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE             . I FULL YUNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
     BY ME. THE STATEMENT IS IRUE. I HAVE INITIAL       LL CORRECTION            V       I                    lM..Q,J:.J;&J1:1..t""'1.__-
     CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY
     THREAT OF PUNISHMENT, ANO WITHOUT COERCION, UNLAWFUL \NFLU
                                                                                                   (b)(3), (b)(6)



                                                                        Subscribed .ind sworn to before me, a person authOrized by \aw to


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                                                                     administer oaths this    /_~      day of        -:}.,A ... .,; ''I   ,-1 G.,. ,'-

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                                                                                                                                                                  Exhibit R
                                                                                    PR\\JACY ACT ST/..TEMENT
                                    ''i\1 1C !,J3C ~~.~'k.-1 '.!C:; • i"it'-; 5 USC S.;:ctiof'I '2')f'- 1, E 0. ()1'.:i~ <12\;;,..'. ~,r;,;:;n-•a::.;: '.:'.': '.:; ..t:? r.SS;\l
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DISCLOSURE:                         D1:.;c!o,;:.ire cf your soci:,J secu::ty number is voluntary.
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 10. EXHIBIT                                                                             11. I
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 ADDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF                                                                    TAKEN AT                           DATED

 THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
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                                                                                       DA FORM 2823, JUL 72, IS OBSOLETE
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                                                                   AFFIDAVIT
                I,~                        (b)(3), (b)(6)     ,__ _ _ , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
      WHICH oco11,v OH r xoc ,, 111110 c,,uv 01,, r1uc          I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
      BY ME. THE STATEMENT IS TRUE. 1HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
      CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREEL YWITHOUT HOPE OF BENEFIT OR REWARD. WITHOUT
      THREAT OF PUNISHMENT. AND WITHOUT COERCION, UNLAWFUL !NFLUI
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     ,,                                                                       Subscribed and sworn to befote me, a person authorized by law to
                                                                         adminlsteroaths,!his        '1{) dayof           ·\                   ,   /.t,;l;?
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                          (b)(3), (b)(5)                                                                 (b)(3), (b)(B)


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-         ORGANIZATION OR ADDRESS                                                              (Authorif.y To Administer Oa/hs)

    INITIALS O                         G STATEMENT
                      (b)(3), (b)(6)                                                                              PAGE      J      OF    3         PAGES
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    PAGE 3, DA FORM 2823, DEC 1998

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    ·-----------------
                                                                                      SWORN STATEMENT
                                                              For usa of !his form, see AR 190-45; the proponent agency is PMG.
                                                                                                                                                                      Exh,·b,·t 5
                                                                              PRIVACY ACT STATEMENT
-   AUTHORITY:                              Tille 10 USC Seclion 301; Tille 5 use Section 2951; E.O. 9397 dated November 22, 1943 (SSN).
    PRINCIPAL PURPOSE:                      To provide commanders and law enforcement officiats with mean·s by which information may be accuralely Identified.
    ROUTINE USES:                           Your social security number is used as an addilional/allerniite means··of identification lo facHHale filing and relrfevaL
    DISCLOSURE:                             Dlsc!osure of your social security number is voluntary.           ,...                    •
    1. LOCATION                                                                                                                                     3. TIME                            4. FILE NUMBER
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STATEMENT OF
               J             (b)(3), (b)(6)
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  STATEMENT    (Continued)




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                                                > - - - - • HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
 WHIC h BEGINS UN PAGE !, ANO ENOS ON PAGE          . l FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
 BY ME. THE STATEMENT IS TRUE. l HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
 CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FRE11 YWtIHOIII HOPE OE BENEFIT 0:RFWARD, WITHOUT
 THREAT OF PUNISHMENT. AND WITHOUT COERCION, UNLAWFUL INF
                                                                                              (b)(6)
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                                                                                       (Signature of Person                      aking Statement)

                                                                Subscribed and sworn to before me, a person authorized by law to
                                                              administer oaths, this                 ..2:.i__ day of                      -r.~"":VJ~t- y                ,   }--,l.,.,:_ ,.?




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                                                                                    SWORN STATEMENT
                                                          For use of this form, see AR 190-45; the proponent agency ls PMG.                          Exhibit T
                                                                                   PRIVACY ACT STATEMENT
     AUTHORITY:                           Tille 10, USC Section 301; TIiie 5, USC Seclion 2951; E.O. 9397 Social Security Number (SSN).
     PRINCIPAL PURPOSE:                   To document potential criminal activity Involving the U.S. Army, and to allow Army officials to maintain discipline.
                                          law and order through lnvesligation of complaints and inciden1s.                                           , •
     ROUTINE USES:                        Information provided may be further disclosed to federal, state, local, and foreign government law enfor~;nent
                                          agencies, prosecutors, courts, child proteclive services, vict!ms, witnesses, the Department of Veterans Affairs, and
                                          the OHice of Personnel Management. Information provided may be used for delermlnations regarding judicial or
                                          non-judicial punishment, other administrative disciplinary actions, security clearances, recruitment, retention,
                                          placement, and other personnel actions.
     DISCLOSURE:                          Disclosure of your SSN and other information is voluntary.
     1. LvvAI 1uN                                                                          2. DATE       (YYYYMMDD)                  3. TIME                       4. File. NUMBER
     llalad, Iraq                                                                          1         2007/0 I /20                  1          22:00
     5. LAST NAME, FIRST NAME, MIDDLE NAME                                                           16. SSN                                                       7. GRADE/STATUS
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     561                                                                      (b)(3), (b)(6)                                                                       , Trail was Easy 62 with
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                                                                  (b)(3), (b)(6)                                                                    II    (b)(3), (b)(6) 1announced traffic at
     our~ o c1oc~ approx11nate1y;, m11es. 1 ramc was nying to tne east ana tnen turnea more towaro me soum. , ue traffic was
     identified as two UHK60's. At approximately 1430 I noticed a puff of smoke to the right side of chalk two of the night in front of
     us. They were approximately 3-4 miles south and west ofus. ~cco~· ~e aircraft was trailing smoke and began a lcfl bank. It
     seemed like the aircraft was having difficulties but was undef.Ciii             ~ ntinued to bank left and leveled out heading west and
     appeared to be in a landing profile. At about 15 to 20 feet from touchdown the aircraft pitched up, banked left erratically, gained
     about l 00 feet and appeared out of control. The aircrafi continued nround to the left and hit the ground heading northwest. At the
     time of impact chalk one of the other night made a mayday call and we realized it was a 1wI 31 flight. Chalk one of the other night
     landed to check for survivors and our night provided security. Easy 56 noticed a white pickup truck approximately 300 meters to
     the north east leaving the area. On further inspection the truck stopped and engaged Easy 56 with an RPG, missing the aircraft. We
     llcw in followinu Easv 56 and were in a right orbit around the truck. I saw one person standing behind the truck reaching into the
     bed to reload~ (b)(3), (b)(6) !identified the targel and neutralized it. We made approximately 4 or 5 turns around the truck, right side,
     lei\ side as the gunners reloaded. l saw a lotal of 3 people aroun~~cklall were neutralized. Once the truck was not a threat we
                                                                                   6
     widened our securily. Chalk 1 of our flight identified a 2 barrelc          )b lump of trees. We made two passes by the trees. I did •
     not sec any people but the gun was engaged with multiple rounds. At lhis point we had Apaches over head so our flight landed to the
     left and right rear of the crash site and set up security. Chalk I of the other night was becoming low on fuel. We left the crash site
     as a night of 3 and returned to 13alad without further incidcnt.-•-w--•--••w-•-----•ww•w•NOTl·llNG
     r-o LLO WS-------------··-----·····--------




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STATEMENT OF

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                          I      (b)(3), (b)(6)
                                                    I                     TAKEN AT       llnlad, Iraq                    DATED 2007/01/20


9. STATEMENT                (Continued)

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  WHICH BEGINS ON PAGE 1, ANO ENDS ON PAGE                         I   . I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. 1HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT, I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD, WITHOUT
  THREAT OF PUNISHMENT. AND WITHOUT COERCION, UNLAWFUL INF

                                                                                                      (b)(3), (b)(6)
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  W!I~ESSE;S·                                                                         Subscribed and sworn lo before me, a person authorized by law to
                                                                                    administer oaths, this       20      day of         January          2007


I                       (b)(3), (b)(6)
                                                    I                                                      (b)(3), (b)(6)
          d!tt' l-17i
      ORGANIZATION OR ADDRESS                                                  I                      '•                                    "
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                                                 .           .      SWORN STATEMENT
                                             For use of this form, see AR 190-45; the proponent agency is ODC
                                                                                                                  Exhibit                         u
                                                                   PRIVACY ACT STATEMENT
AUTHORITY:                      Titfe 10 USC Section 301; Title 5 USC Section 295"1; E.O. 9397 daied November 22, 1943 (SSNJ
PRINCIPAL                       To provide commanders and law enforcsment officials with means by which information may be accurate!y identified.
ROUTINE USES:                   Your social security number is used as an additional/alternate means of identification to facifil3!e ming and retrieval.
DISCLOSURE:                     Disclosure of your social security number is volunta .
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10. EXHIBIT                                                        11. INITIAL    (b)(J), (b)(G)   KING STATEMENT                            •?
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THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING, THE STATEMENT, AND PAGE NUMBER
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DA FORM 2823, DEC 1998

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    -1 STATEMENT OF


-      STATEMENT [Con,;nued)




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                     (b)(J), (b)( )    I                       , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
      WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE_ _ . JFULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
      BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
      CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WI                F BE EFJT R REWARD, WITHOUT
      THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL JNFLUEN                               T.

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                                                                 Subscribed and sworn to before me, a person authorized by law to
                                                                administer oaths this _..k.L day of         •• \. ,•.,.,,""44'>1        ?-cv 1
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    INITIAL$ OF PERSON MAKING STATEMENT
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                                                                 For use of this form, see AR 190-45; !he proponent agency is PMG.
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                                                                                           PRIVACY ACT STATEMENT
AlfTHORITY:                                 Title
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                                                                                         • 2951; E.O. 9397 dated November 22 1943 (SSN)   •
PRINCIPAL PURPOSE:                              prov1 e commanders and law enforcement officials with          b       •          :              •
                                            Your social securi!y number is used as       dd' I           mea~s ywhrc_b Information may be accurately identified.
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DISCLOSURE:                                                            secun 1Y number is voluntary.
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      INITIALS OF PERSON MAKING STATEMEN
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                                                                SWORN STATEMENT
                                           For use of this form, see AR 190-45; the proponent agency Is PMG.                 Exhibit X
                                                            PRIVACY Mrf STATEMENT
 ,UTHORITV:               Title 10 USC So<:tion 301; Title 5 USC Seetion 2951; E.O. 9397 dated November 22, 1943 (SSN).
PRINCIPAL PURPOSE:        To provtde commanders and law enforcement officials with means by which information may be accurately identified.
ROUTINE USES:             Your aocial security number is used as an addllionaVaJtemate m&ans of identification to facilitate filing and retrieval.
                          Disclosure of your social security number Is voluntary.
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 10. EXHIBIT                                                                                                      STATEMENT
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  HE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
 MUST BE BE INDICATED.
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       STATEMENTOFL.l_ _ _ _ _(_b)_(6_)_ _ _           __.L   TAKEN AT .....,_t_W=..cc.o_ _ __

       9. STATEMENT /Contlnuod/




                                                               (b)(6)




             I
               I          (b)(S)
                                                   I           AFFIDA VlT
                                                                    , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
         WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE....Zo._. I FULLY UNDERSTAND THE CONTENTS OFTHE ENTIRE STATEMENT MADE
         BY ME, THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
         CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FR                                                 OUT
         THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL IN

                                                                                               (b)(6)



         WITN                                                            Su scribed and sworn to before me, a person authorind by law to
                                                                        adminlstor ooths, this_&_ day of         J'. IQ H..         , ti'jl-
         -                                                              a

         --                       (b)(3), (b)(6)
                                                                                                (b)(3), (b)(6)
         ORG

                                                                                                   (b)(3), (b)(6)
                                                                                                         n                ng •


.II--O-R_G_A_N_1ZA_n_o_N_o_R_A_D_o_R_ESS
                                      __________________1Au_,,,._r11_·_y_"_•_Ad_""_._"""'_·'_o_._'"'_1_ _ _ _ _- l
-      INITIALS OF PERSON MAKJNG STATEMENT
                                                                                                        PAGE l -         OF   z_.     PAGES
       DA FORM 2823, NOV 20<XS                                                                                                           APDV1.00




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(b)(6)
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                                                                        SWORN STATEMENT
                                                  For use of this form, see AR 190-45; the proponent agency Is PMG.
                                                                                                                              Exhibit y
                                                                       PRIVACY ACT STATEMENT
AUTHORITY:                           Title 10 USC Section 301; Title 5 USC Secuon 2951: E.O. 9397 dated No,..ember 22. 1943 (SSN) ,
PRINCIPAL PURPOSE:                   To provide commanders and law enforcemenfofficials with means by which information may be accurately'iden!ified.
ROUTINE USES:                        Your social security number is used as an additional/alternate means of identification to facilitate filing and (etnevaL
 DISCLOSURE:                         Disclosure of your social security number is voluntary.
 1. L             I N                                                           2. DATE       /    MOD}            IM                  4.    IL NU      R
LSA ANACONDA                                                                             2007/01/20
............,,,
                                                                                         6.                                                       /STATUS
                          (b)(3), (b)(6)                                                              (b)(6)


CCO, 1-131 AVNREGT

 g_       I, ~L~:--:--=-(b_)(-3)r,(=b)=(B=)          ====~==-,•                          WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:


  1               W,'f-,5 --t'r+t;; ~I_ _(_b)(_3),_(b)_(6)_                      __JI         Ml> ,//-r I ~ f/lt£fhf2,,>E 7o<'.:
 f:GCGI ,;ep A C1-t.-c.. ~ f a ( E.2'.-02 7lf,1-7 ~ NM A
  ~ ,1:,r/e{c'"L ./1-r 6,,e/J:) 3'$5 ,MC- 6!J/7 {)O,Y>, # ' 7 ' " ~ d
       ~ n>c ft/k
      1 / . /                       ,1,,v,o 7lk=" PiY/4?.> ~ ~ L E - 1 5                                                      N c . e e




   f>ouA!. Wt: ~ 5~-rc::;I) ?,?t& ~/4?.e.5"c .6//---rra:: ..4e'/LL
      -# I           ?~,,V,1/EL Z6i:2?vE?ey /.,?>.,,vA/l?b                                                      A / ~ ~ £72>
   >7JJ-.e7'G/> 4 /ll:),v /47~, NE ~ Aferp
                                       .
                                           ~ ..e'?o ff~_,v-6" #'/?               .
      ~ /4~                                       a,,r/ $'at&£~~-                                                       f l ¥ ~ ##$LG
      /0 .llJ6/l/7?pY '/1/l'E / 4 , e ~ ~ ~ ,w°6r/7' ,/),,;,NA!;f:s'
      ffc?/.¥£ E-z3,¥t:>/,,,f-cfi""4' 15¥. Pr/4:- ~ A/fi?#c?!J                                                                                 ~1~)(3),(b)(~)


      I              (b)(3),(b)(6)             lac ~                   .5/'TM#vo,1/                       /y M'Y ~ ~~~a',,;
      ,E,1-t>1c,               u!/:r ~fcMG.b                                     / ~ M?r?G ,O,e:,µf~=c::.!::Z:,::'....c.sGt/'::::::e:!:'...,I
      'ff/€ N~4'114~o,,J                                       7o           "7l!c                 3'~:z:zt ~                  i _ __ _              (b_)(s_)- - d
                                                                                                                                             (b)-(3)_.

   ,4-;;e flr/'/"t1(C.-r ./ !I/J'-v 15' ;,,vc £6c?«es--rc:2>                                                                                -;r,l/;&P6// f f
      $/2.t&/(-1>6. > E V ~ ~ G t ! T ~ ccdp:/-c1G-,6
      {i.e.              8 ' ~ f/lt-,1&/ l-1.t/f Y #?1) 7o k=r" ~>Pr> 7o
       "7/.fG:            Sc.ov€, ~&z- ,4 #tv' //ft,1/t(7tf?5'"                                                          VT/lr
  10. EXHIBIT                                                             11.        I    S OF PERSON MAKING STATEMENT
                                                                                                                                      PAGE i OF        !s        ?AGES
                                                                                (b)(3), (b)(6)
      .OOITIONAL PAGES MUST CONTAIN THE HEADING #STATEMENT OF                                       TAKEN AT             OJ..TED

   !NE BOTTOM OF EACH ADDlTIONAL PAGE MUST BEAF? Tlif. lNIT!ALS OF THE PERSON M.ti,,K.'NG T!-IE STA/EfiEN/. AND PAGE NUMBER
   MUST BE BE fNDICATED.
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                                                                         DA FORM 2823, JUL 72, lS OBSOl ETE
  DA FORM 2823, DEC 1998


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           USE THIS PAGE IF NEEDED. IF THIS PAGE IS NOT NEEDED, PLEASE PROCEED TO FINAL PAGE OF THIS FORM.




9. STATEMENT   (Con/inved)


A'tt/1-CL ffM                   Zc:cws-           ~ I (//N&             fr 77/E __5""~e7(.2>t7W4'.
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 To L-
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               /,,-v/z;,e,,nEb
 1/t.5 ./ ~/:-1/ ~ ~
                                        ~ 4              ,41~ :0 4'4',e:: tf/,P M?7/
                                                             *         ,4 h6~ c:?",,C- 3
                                                                                                             *
r::JA/a3       /4~£ws ,,;f-Ub£ .Zr .5&/4 7b MVft) / ftlc="" rW
  4?/1/l?kr ~> /4ffY ~                                             7??      ~ ~ 7.3 ~
  l ~ / E c,;,q/~V          ~ . ~ ;f'~ ~:::r~ ;0('.'.: ~
  U-rR5A< $,e -/ A"',,.fv 7/ft911 To ~i'7k--c/ ~ &,,r
 /;ft?M 41c-::,:;-- 4£t 5 /27.,e". 4 flel'f',Crc;tC ~ (b)(3), (b)(6) t/b,/7

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   f~t>                IIN/ 7 -> >V!-vA/r:;                71-frrr ,, /2/E ~ E Hu-///,25 /;::
   5tla1es Mz> ~Gvr/MED /o. .-Si%zc4                                                         u/%1??EYG
   I{/?),:::?~ cfop/£.> E«#P                               ,,56/7 /{/'~ 7o                          ¾1 a,
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     t/fv ft? C. to c{g r ~ ///4Me- c::JF ~ ,&;,3,.~ ~-4tr
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                           -~
                            1
                              'f.l-G Gw/4{_ 172c,-4-1 a/23= s.1; ,
     (,+:J ✓~tJ/-f&:tJ               ~ _f.f_ 1v',,t;-11-5s                 tJGf'~        yb/::;f)ti'.~b '

          ERSON MAKING STft.TEMENT

                                                                                   -d-----·-
                                                                                                             APDPE "101




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    STATEMENT OF!'-_ _ _ _(_b_)(3_)._(_b)_(6_)_ _ _                ~L     TAKEN AT                                      DATED      _2o :::5,4,,.fd7

-   9. STATEMENT              (Con//nued)


     A a?4't/4/f,1//C.4-?lc4s 5'4¢7c..:::>u1 w..,fs / $7?,,-f'-7?2> ,1A,7>
    • /~ _;;;vu, /4/ ~ 7 N~ //'CG .544:: A't,v,11/7?/V'C ~ 7 '
      JF PA/ ~71/1C47?CW: ~ 72?C: .5-z:f;e-rc,c, 4' NNPc"?Z
          Wrfff ,lf-u, I/J.//8/Vlf/fVc/CI &. ~r,1//,v,:{ ~ 7#'€ /#U,Gv'
                          /JP( ~//§€5 5//V~ #lb ht:-E~




                                                                           AFFIDAVIT
             I,                       (b)(3), (b)(6)                              , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
      WHICH/-,,.,.==o"'N~P'"AG~E~17 ,~A~ND=EN°'D""S,.,O"'N,.,P'"A"GE_....l5e,-_-:l-::F:'.:UL:-:L:7Y'.:UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
      BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
      CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREEL
      THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INFLU


                                                                                    1'--------------~
                                                                                                                (b)(3), (b)(6)



      WITNESSES:                                                                     Subscribed and sworn to before me, a person authorized by law to

     I                        (b)(3), (b)(6)                                       ad~inister oaths, this ..A2_ day of
                                                                                                                                 (,
                                                                                                                                 9 .. ,.,.....\


                                                                                               (b)(3), (b)(6)
                                                                                                                            dministering Oath)
          JANIZ.. IIQSl(;; ;,~~~:~•


              A. t·c..
                          3

                          i   fi 11   1---,p...                                                   T
                                                                                                      (b)(3), (b)(6)                  I
                                                                                                       ed Nsme of Porson Administering Oa/hJ

                                                                                                       (b)(3), (b)(6)
•         ()RGANIZA TION OH ADDRE S                                                                                               r Oa1hs,i


-   tN!                   SON MAKlNG STATEMENT                                                                                        ~.-         ··;;.

    --;___1--------------------~....J1
          (b)(3), (b)(6                ?AGE "-
                                     __________Oc ::':: PAGES j
                                                              ...,                                                                                        APO PE v1 .C ',
    PAGE 3, DA FORM 2823, DEC 1998



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                                                         SWORN STATEMENT
                                   For use of this form, see AR 190-45; the proponent agency ts PMC
                                                                                                          Exhibit Z
                                                        PRIVACY ACT STATEMENT
AUTHORITY:            Tille 10 use Section 301; Tflle 5 use Section 2951; e.o. 9397 dated November 22, 1943 (SSNJ,
PRINCIPAL PURPOSE:    To provide commanders and law enforcement officials with means by which information may be .aCcurate!y identified.
ROUTINE USES:         Your social security number is used as an addilionaflaltemate means ofidenlificalion lo faciJirilte filing and relrleval.
                      Disclosure of your social security number ts voluntary.
1.        A r N                                                2. DATE      (YYYYMMDD)                                  4. FILE
LSA ANACONDA                                                           2007/01/20

                        (b)(3), (b)(6)                                 6.   i            (b)(6)
                                                                                                                        7.
                                                                                                                                   (b)(6)


HHC, 1-131 AVNREGT
9.
      I               (b)(3), (b)(6)                                 , WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:
          '--L__ _ _ _ _ _ _ _ __ J - - -

      ,9J/ /J-t> ~ ,lt)t? 7 f                             W;/5 J,,t/,hP,eA>?~/ ,4&>u:/-_ a ~c".-e/

     /1-ttJj%( ;4-;tlf!l 7k C,fe-a,1 1(/,,M .5tt'yc~/ 7,;" ~.M'
     17e t:4'd                                                     ~/t' -6-e?c' ;7t?C                            /b' ~~ {'?ht
                     ~n-71114/,                    /t.e.5P///'#d

                  &/J/b       t;




 10. EXHIBIT




 DA FORM 2823, DEC 19&6

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STATEMENT Of            Jc___ _ _(b_)_(3_),_(b_)(_6)_ _ _     _,L      TAKEN AT              I <jc, (i                               OATEO


9, STATEMENT {Continued)




                                                          AFAOAVIT

          J                       3       5
       1, L===~=(b~)(~~),~(b~)~(~)_ _ _ _. J - - - - - - • HAVE AEAO OR HAVE HAO AEAO TO ME THIS STATEMENT
  WHICH BEGINS ON PAGE 1, ArJD ENDS ON PAGE      t FUllY UNDERSTAND THE CONTErJTS OF THE ENTIRE STATEMENT MADE
   BY ME. THE STATEMENT IS TRUE. I HAVE IN!TIALEO All CORRECTIONS AND HAVE INITIALED THE BOTTOM Of EACH PAGE CONTAINING THE STATEMENT. I HAVE MAOE THIS
  STATEMENT FREELY WITHOUT HOPE OF RENEFlT OR REWARD. WITHOUT THREAT Of PUN\SHMHff. AND WITHOUT COERCION, UNLAWFUL lf~FLUENCE. OR UNLAWFUL moucwrnr.


                                                                                                                  (b)(3), (b)(6)
                                                                                                                                                                              r
   WITNESSES:
                                                                                       Sttisc.nb~d and sworn 1obelore me, a person illl!lllnrn~y law to
                                                                                  admim~te1 oaths ia~                  ...2..!d._ day of                 H··   ,-£~      •j
                                                                                  ~t                   /'

                                                                                                                            (b)(3), (b)(S)

    OilGAN!Zf.   no~ OFl /,OGRESS
                     (b)(3), (b)(6)
                                                                                                                                                                                                                   tI
                                                                                       J                    (b)(3), (b)(6)




                                                                                                                                             ;·4p_                                              ;•J:2!."
                                                                                                                                                                                                                  II
                                                                                                                                                                                                                    i
                                                                                                      · ~ - - ,...,___....,_~ . .   ~~   '~,.,.,._,.,.   t;    ..   ~...,,--=·· ........,._._._.,        .. -~ .• ,.!



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    INFORMATION SHEET:                                                     UNCLASSIFIED

                                 <:',~          tf{,.:;:i..
    A. Callername&rank:

     . Radio frequency/ DNVT #:          •      ·-
                                                                    /
                                                                                                                Exhibit CC
•    . Unit/ call sign of the caller reporting the accident: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                 -1'...>
    D. Can the accident location be accessed by ground vehicles? - - " / - - ' - r - ~ ' . > ' - - - - - - - - - - - - - - - - - - - - - -
    E. Type Aircraft and/or Aircraft Identification:           V,/ - (:{".,
                                                       --"-'---'--'c.:..!..'------------------
    F. ls there a fuel spill or fuel leaking from the aircraft at this time? ..~\_,·_'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    H. ls a fire involved? _!..£z___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    I. Number of Personnel involved? - - ' ~ ~ ~ - - - - - - - - - - - - - - - - - - - - - - - -
                    ·"//.
    J. Injuries? _ L ' S ; ; - " " ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                           -·-
    K. Type of Assistance Required: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    L. Enemy Situation: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                               !)    ,      ,           ~             'U// Y
    M. Date:                      -Ja,.
                                    ,#,,t;J6     Time:  ~           / / , /0
                                  ( !                                                             .
    BATTLE CAPTAIN: KSTART THE BATTALION NOTIFICATION SEQUENCE:

    Time Notification Sequence Started:                       ./ </ 1/. '.'.
    Notification S uence will be as follows:




                                                                                 (b)(3), (b)(6)




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       BATTALION NOTIFICATION SE~l Exhibit DD
tltast U dated: 28 Se 2006




                                              (b)(3), (b)(6)




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                                                                               Exhibit FF
                             J:~.1;:\JE:L~l,i')~f·E:   TF<S:""> ('.E: .~·\: _ :~?   ,='

             Note: It wili be posted on mIRC Chann2l #FLTFOLLO\N ior.nc 1,-y.smi;,r:-di


       \;\ HO: 15T CAY DIV

       \\HAT: DOWNED AIRCRAFT ROZ

       \VHEN: NOW- UFN

       vVHERE: 38S MC 6679 0002

              3NMRADIUS

             ALT SFC 3000FT

-      WHY: RECOVERY A/C IN AO OF DOWNED A/C

       CONTACT INFO: BAGHDAD RADIO

                                I             (b)(6)           I




                                                       f~~1tD@ l~O&..,
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                         Exhibit XX

     Mission Planning Map

 -                   Not Available

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